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 SHORT RECORD
 NO. 23-2366                     UNITED STATES DISTRICT COURT
 FILED 07/12/2023                SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

   K.C., et al.,                                        )
                                                        )
                   Plaintiffs,                          )
                                                        )
           v.                                           )
                                                        )     Case No. 1:23-cv-00595-JPH-KMB
   THE INDIVIDUAL MEMBERS OF THE                        )
   MEDICAL LICENSING BOARD OF                           )
   INDIANA, in their official capacities, et al.,       )
                                                        )
                   Defendants.                          )


                                       NOTICE OF APPEAL
          Notice is hereby given that Defendants the Individual Members of the Medical Licensing

  Board of Indiana; the Executive Director, Indiana Professional Licensing Agency; Attorney

  General of the State of Indiana; Secretary, Indiana Family and Social Services Administration; and

  Indiana Family and Social Services Administration appeal to the U.S. Court of Appeals for the

  Seventh Circuit the District Court’s Order Granting in Part Plaintiffs’ Motion for a Preliminary

  Injunction, Dkt. 67, and Preliminary Injunction, Dkt. 68.




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                                                      Respectfully submitted,

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                                                      Corrine Youngs
                                                      Policy Director and Legislative Counsel

                                                      Melinda R. Holmes
                                                      Razi S. Lane
                                                      Deputy Attorneys General

                                                      Counsel for Defendants




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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

   K.C., et al.,                                        )
                                                        )
                    Plaintiffs,                         )
                                                        )
           v.                                           )
                                                        )   Case No. 1:23-cv-00595-JPH-KMB
   THE INDIVIDUAL MEMBERS OF THE                        )
   MEDICAL LICENSING BOARD OF                           )
   INDIANA, in their official capacities, et al.,       )
                                                        )
                    Defendants.                         )


                           DOCKETING STATEMENT OF APPELLANT
          In compliance with Rule 3 of the Federal Rules of Appellate Procedure and Seventh Circuit

  Rule 3(c), Defendants the Individual Members of the Medical Licensing Board of Indiana; the

  Executive Director, Indiana Professional Licensing Agency; Attorney General of the State of

  Indiana; Secretary, Indiana Family and Social Services Administration; and Indiana Family and

  Social Services Administration submit this Docketing Statement.

          1.       Statement of District Court Jurisdiction: Plaintiffs K.C., Nathaniel Clawson,

  Beth Clawson, M.W., Ryan Welch, Lisa Welch, A.M., Emily Morris, Maria Rivera, Catherine Bast,

  and Mosaic Health and Healing Arts, Inc., filed this putative class action for declaratory and

  injunctive relief, alleging that Indiana Senate Enrolled Act 480’s (S.E.A. 480) prohibitions on

  providing gender transition procedures to minors and aiding and abetting the provision of those

  procedures to minors violate the Fourteenth Amendment’s Equal Protection and Due Process

  Clauses; the First Amendment; Section 1557 of the Affordable Care Act, 42 U.S.C. § 18116; and

  Medicaid requirements. The District Court has subject matter jurisdiction under 28 U.S.C. § 1331.




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         2.        Statement of Appellate Jurisdiction: The Court of Appeals has jurisdiction over

  this appeal under 28 U.S.C. § 1292(a)(1) because this is an appeal from a preliminary injunction.

  On July 26, 2023, the District Court issued an order granting in part Plaintiffs’ motion for a

  preliminary injunction, Dkt. 67, and issued a preliminary injunction, Dkt. 68. The injunction

  enjoins enforcement of “S.E.A. 480’s prohibitions on gender transition procedures, except the

  prohibition on gender reassignment surgery,” and “S.E.A. 480’s prohibition on ‘aid[ing] or

  abet[ting] another physician or practitioner in the provision of gender transition procedures to a

  minor’ as applied to providing patients with information, making referrals to other medical

  providers, and providing medical records or other information to medical providers.” Dkt. 68 at 1.

  This is not a direct appeal from the decision of a magistrate judge. No Rule 59(e) Motion to Alter

  or Amend Judgment or other motion tolling the time for filing a Notice of Appeal has been filed.

  The merits of this case remain pending in the District Court.

         3.        Notice of Appeal: The Notice of Appeal is being filed contemporaneously

  herewith, within the time designated by the Federal Rules of Appellate Procedure, on this date,

  July 11, 2023.

         4.        Prior or Related Appellate Proceedings: There are no prior or related appellate

  court proceedings.

         5.        Current Occupants of Offices Appearing in Their Official Capacities: The

  current members of the Indiana Medical Licensing Board are John Strobel, Kirk Masten, Victoria

  McCann, Bharat H. Barai, Rebecca Moredock-Mueller, Frank Messina, and Heidi Dunniway. The

  current Executive Director of the Indiana Professional Licensing Agency is Lindsay Hyer. The

  current Attorney General of Indiana is Theodore E. Rokita. The current Secretary of the Indiana

  Family and Social Services Administration is Dan Ruyniak.



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                                                      Respectfully submitted,

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   Email: Tom.Fisher@atg.in.gov
                                                      James A. Barta
                                                      Deputy Solicitor General

                                                      Corrine Youngs
                                                      Policy Director and Legislative Counsel

                                                      Melinda R. Holmes
                                                      Razi S. Lane
                                                      Deputy Attorneys General

                                                      Counsel for Defendants




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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

  K. C., et al.                                  )
                                                 )
                            Plaintiffs,          )
                                                 )
                       v.                        )   No. 1:23-cv-00595-JPH-KMB
                                                 )
  THE INDIVIDUAL MEMBERS OF THE                  )
  MEDICAL LICENSING BOARD OF                     )
  INDIANA in their official capacities, et al.   )
                                                 )
                            Defendants.          )

                  ORDER GRANTING IN PART PLAINTIFFS' MOTION
                       FOR A PRELIMINARY INJUNCTION

         Recently enacted by the Indiana General Assembly, Senate Enrolled Act

  480 is scheduled to become effective July 1, 2023. If it takes effect, S.E.A. 480

  will prohibit physicians and other practitioners from knowingly providing

  gender transition procedures to a minor, and from aiding or abetting another

  physician or practitioner in the provision of gender transition procedures to a

  minor. Gender transition procedures banned by S.E.A. 480 include the use of

  puberty-blocking drugs, cross-sex hormone therapy, and gender reassignment

  surgery. Plaintiffs are four minor children, many of their parents, and a doctor

  and her family medical practice. Alleging that S.E.A. 480 violates the United

  States Constitution and other federal laws, Plaintiffs ask the Court to enter a

  preliminary injunction that would prohibit Defendants—who are various State

  officials—from enforcing S.E.A. 480.

         The State has a strong interest in enforcing democratically enacted laws.

  And Defendants have shown that there are important reasons underlying the
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  State's regulation of gender transition procedures for minors. Still, Plaintiffs

  have carried their burden of showing some likelihood of success on their claims

  that S.E.A. 480 would violate their equal protection rights under the

  Fourteenth Amendment and free speech rights under the First Amendment.

  Under the evidence available at this preliminary stage, there is not a "close

  means–end fit" between the State's important reasons for regulating the

  provision of gender transition procedures to minors and S.E.A. 480's broad ban

  of those procedures. So, when the State's interests are weighed against the

  likelihood that Plaintiffs will be able to show that S.E.A. 480 would violate their

  constitutional rights and the risk of irreparable harm, Plaintiffs are entitled to a

  preliminary injunction.

        Plaintiffs' motion for a preliminary injunction is therefore GRANTED in

  part to the extent that, while this case is pending, Defendants may not enforce

  S.E.A. 480's prohibitions on (1) providing gender transition procedures for

  minors except gender reassignment surgery and (2) speech that would aid or

  abet gender transition procedures for minors. Dkt. [9]. Plaintiffs motion is

  DENIED in part as to the ban on gender reassignment surgeries. Plaintiffs

  lack standing to challenge that ban because gender reassignment surgeries are

  not provided to minors in Indiana.

                                         I.
                                Facts & Background

        The parties have submitted joint stipulated facts, dkt. 51, and more than

  3,000 pages of evidence. Dkt. 26; dkt. 48; dkt. 49; dkt. 58. They also jointly

  recommended to the Court that there was no need for an evidentiary hearing,
                                           2
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  see dkt. 22 at 3; dkt. 56, so the Court's recitation of the relevant facts is based

  on the written materials submitted with the parties' briefing.

        A. Sex, gender, and gender dysphoria

        A person's sex is generally identified at birth based on external genitalia.

  Dkt. 51 at 1 (parties' stipulated facts). Gender or gender identity, by contrast,

  commonly refer to a person's psychological and/or cultural sense of their sex

  or gender. Dkt. 26-1 at 7 (Karasic decl.); dkt. 48-2 at 12–13 (Hruz report).

  Most people's sex and gender identity match, but "[f]or transgender people,

  their assigned sex does not align with their gender identity." Dkt. 26-1 at 7

  (Karasic decl.).

        Gender dysphoria is a mental-health diagnosis recognized in the Fifth

  Edition of the American Psychological Association's Diagnostic and Statistical

  Manual of Mental Disorders ("DSM-5"), and can be diagnosed in pre-pubertal

  children, adolescents, or adults. Dkt. 51 at 2–3. The DSM-5 defines gender

  dysphoria as "[a] marked incongruence between one's experienced/expressed

  gender and assigned gender, of at least 6 months' duration, as manifested by"

  certain diagnostic criteria. Id. Gender dysphoria in adolescents or adults "is

  associated with clinically significant distress or impairment in social,

  occupational, or other important areas of functioning." Id. at 3.

        "There is no medical or surgical treatment indicated for children with

  gender dysphoria pre-puberty." Id. at 4. However, once puberty begins,

  "[a]dolescents diagnosed with gender dysphoria . . . may be prescribed puberty-

  delaying medications." Dkt. 26-2 at 13 (Shumer decl.). Then, in mid-

                                           3
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  adolescence, patients may be prescribed hormones—testosterone, or estrogen

  with a testosterone suppressant. Id. at 16. Gender-transition surgeries may

  also be considered, see dkt. 26-3 at 7 n.11 (Turban decl.), but in Indiana no

  "provider performs gender-transition surgery on persons under the age of 18."

  Dkt. 51 at 4.

        B. Senate Enrolled Act 480

        In early 2023, the Indiana General Assembly passed S.E.A. 480 and

  Governor Holcomb signed it into law. S.E.A. 480 (to be codified at Ind. Code §§

  25-1-22-1 et seq. (eff. July 1, 2023)).

        S.E.A. 480 would prohibit physicians and other medical practitioners

  from "knowingly provid[ing] gender transition procedures to a minor." S.E.A.

  480 § 13(a). The statute defines "gender transition" as "the process in which an

  individual shifts from identifying with and living as a gender that corresponds

  to his or her sex to identifying with and living as a gender different from his or

  her sex." Id. § 3. It defines "sex" as "the biological state of being male or

  female, based on the individual's sex organs, chromosomes, and endogenous

  hormone profiles." Id. § 12. And "gender" as "the psychological, behavioral,

  social, and cultural aspects of being male or female." Id. § 1.

        Under S.E.A. 480, the prohibited "gender transition procedures" include

  "any medical or surgical service . . . that seeks to:

               (1) alter or remove physical or anatomical
               characteristics or features that are typical for the
               individual's sex; or



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               (2) instill or create physiological or anatomical
               characteristics that are different from the individual's
               sex."

  Id. § 5(a). The statute then excludes:

               (1)     Medical or surgical services to an individual born
               with a medically verifiable disorder of sex development,
               including an individual with:
                   (A) external sex characteristics that are irresolvably
                   ambiguous;
                   (B) forty-six (46) XX chromosomes with virilization;
                   (C) forty-six    (46)    XY     chromosomes       with
                   undervirilization; or
                   (D) both ovarian and testicular tissue.
               (2)     Medical or surgical services provided when a
               physician or practitioner has diagnosed a disorder or
               condition of sexual development that the physician or
               practitioner has determined through genetic or
               biochemical testing that the individual does not have
               normal sex chromosome structure, sex steroid hormone
               production, or sex steroid hormone action.
               (3)     The treatment of any infection, injury, disease, or
               disorder that has been caused by or exacerbated by the
               performance of gender transition procedures.
               (4)     Any medical or surgical service undertaken
               because the individual suffers from a physical disorder,
               physical injury, or physical illness that would, as
               certified by the physician or practitioner, place the
               individual in imminent danger of death or impairment
               of major bodily function unless the medical or surgical
               service is performed.
               (5)     Mental health or social services other than gender
               transition procedures as defined in subsection (a).
               (6)     Services for a disorder or condition of sexual
               development that is unrelated to a diagnosis of gender
               dysphoria or gender identity disorder.

  Id. § 5(b), see § 13(c).



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        Medical services prohibited under S.E.A. 480 can thus include "medical

  services that provide puberty blocking drugs, gender transition hormone

  therapy, or genital . . . or nongenital gender reassignment surgery." Id. §

  5(a)(2). 1 Physicians and other medical practitioners are further prohibited from

  "aid[ing] or abet[ting] another physician or practitioner in the provision of"

  prohibited gender transition procedures to a minor. Id. § 13(b).

        Physicians or medical practitioners who violate S.E.A. 480 are subject to

  discipline by their regulating licensing boards. Id. § 15; Ind. Code § 25-1-9-

  4(a)(3) (providing for discipline for licensed medical providers who "knowingly

  violate[ ] any state statute . . . regulating the profession in question"). Private

  individuals may also bring lawsuits alleging violations of S.E.A. 480. S.E.A.

  480 § 17.

        C. Plaintiffs

        K.C. is the ten-year-old child of Nathaniel and Beth Clawson. See dkt.

  51 at 5. "K.C. was identified male at birth," but before the age of 4 "grabbed a

  pair of scissors, and asked to cut off K.C.'s penis, asserting that it should not

  be there." Id. An IU Health pediatrician diagnosed K.C. with gender

  dysphoria. Id. K.C. "socially transitioned [to female] before K.C. was 4 years

  old and uses female pronouns." Id. In 2017, K.C. first visited the Riley Gender




  1 S.E.A. 480 provides a limited extension to its July 1, 2023 effective date: physicians

  or medical practitioners may "continue to prescribe . . . until December 31, 2023,"
  gender transition hormone therapy to individuals who were taking that therapy "on
  June 30, 2023, as part of a gender transition procedure." S.E.A. 480 § 13(d).
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  Health Clinic, which "again diagnosed [K.C.] with gender dysphoria." Id. at 6.

  K.C. began taking a puberty blocker in 2023. Id.

        M.W. is the 16-year-old child of Ryan and Lisa Welch. Id. "M.W. was

  identified female at birth" and "was diagnosed with gender dysphoria in

  adolescence." Id. at 6–7. At the age of 12, M.W. "declared that M.W. is a

  transgender male" and now "uses a stereotypically male first name and male

  pronouns." Id. at 7. "M.W. was prescribed testosterone" in July 2022, and

  continues to receive testosterone. Id. at 7.

        A.M. is the 11-year-old child of Emily Morris. Id. at 8. "At birth, A.M.

  was identified as male," but "[b]efore A.M. was 4 years of age, A.M. stated to

  family members that A.M. was a girl and was thinking about trying to cut off

  A.M.'s penis." Id. "A.M. socially transitioned before the age of 4" and since

  then "has used a stereotypically female first name and female pronouns." Id.

  A.M. has been diagnosed with gender dysphoria and receives a puberty

  blocker. Id. at 9-10.

        M.R. is the 15-year-old child of Maria Rivera. Id. at 10. "M.R. was

  identified as female at birth" and in December 2021 "declared . . . that M.R. is a

  transgender male." Id. "M.R. now consistently uses a stereotypically male first

  name and male pronouns." Id. M.R. has been diagnosed with gender

  dysphoria and receives testosterone under a prescription from Dr. Catherine

  Bast at Mosaic Health and Healing Arts ("Mosaic"). Id. at 11.

        Dr. Bast is a board-certified family-practice physician at Mosaic in

  Goshen, Indiana. Id. at 11–12. Mosaic currently treats 72 minor patients who

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  are diagnosed with gender dysphoria and are prescribed either puberty

  blockers or hormones. Id. at 12.

        D. Defendants

        The individual members of the Medical Licensing Board of Indiana serve

  as members of the board that is responsible for the licensing and discipline of

  medical providers, and that grants and revokes licenses to Indiana medical

  practitioners. See dkt. 1 at 5; Ind. Code §§ 25-1-9-1 et seq.

        The Executive Director of the Indiana Professional Licensing Agency

  oversees the Medical Licensing Board. Ind. Code §§ 25-0.5-3-1 et seq; 25-1-6-

  3.

        The Attorney General of Indiana investigates complaints against licensed

  medical providers and can pursue discipline from the Medical Licensing

  Board. Ind. Code § 25-1-7-2.

        The Secretary of Indiana Family and Social Services Administration is the

  director of the FSSA, which administers Medicaid in Indiana. Ind. Code § 12-

  15-1-1.

        E. Procedural history and preliminary-injunction evidence

        Plaintiffs brought this action in April 2023, alleging that S.E.A. 480's

  restrictions violate (1) the minor plaintiffs' Fourteenth Amendment equal

  protection rights; (2) the parent plaintiffs' "fundamental rights protected by due

  process" under the Fourteenth Amendment, (3) the medical-provider plaintiffs'

  First Amendment speech rights; and (4) Medicaid provisions in 42 U.S.C. §§

  18116 and 1396d(a). Dkt. 1 at 42–45. Plaintiffs have filed a motion for a

                                          8
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  preliminary injunction under Federal Rule of Civil Procedure 65, requesting

  that the Court "prohibit[ ] the enforcement of" S.E.A. 480. Dkt. 9.

        The parties have agreed that there should not be an evidentiary hearing.

  See dkt. 22 at 3; dkt. 56. To develop the preliminary-injunction record, the

  parties have conducted substantial discovery, filed a statement of stipulated

  facts, and designated extensive evidence. See dkt. 26; dkt. 48; dkt. 49; dkt. 51.

  In total, excluding citations and supporting exhibits, Plaintiffs have designated

  more than 100 pages of expert opinions, dkt. 26; dkt. 58, and Defendants have

  designated more than more than 300 pages of expert opinions, dkt. 48. The

  parties' complete evidentiary filings span more than 3,000 pages. Dkt. 26; dkt.

  48; dkt. 49; dkt. 58.

        Despite the volume of designated evidence and the contradicting expert

  opinions, the parties have designated only a small portion of the evidentiary

  filings in their briefs, generally relying on summaries of evidence in their

  experts' reports. See dkt. 54; dkt. 59.

           1. Plaintiffs' experts

        Plaintiffs have designated three experts, who have provided reports of

  their opinions.

        Dr. Dan Karasic, a Professor Emeritus of Psychiatry at the University of

  California, San Francisco School of Medicine, has "provided care for thousands

  of transgender patients" over thirty years. Dkt. 26-1 at 3. He's worked with

  the World Professional Association for Transgender Health ("WPATH") and co-

  authored the WPATH Standards of Care for the Health of Transsexual,

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  Transgender, and Gender Nonconforming People. Id. at 4. Dr. Karasic's expert

  report details his opinions on gender identity, gender dysphoria, appropriate

  medical treatments, and harms of denying gender-affirming care. Id. at 6–18.

         Dr. Daniel Shumer is a pediatric endocrinologist, an Associated Professor

  of Pediatrics at Mott Children's Hospital at Michigan Medicine, and the Medical

  Director of the Comprehensive Gender Services Program at Michigan Medicine,

  University of Michigan. Dkt. 26-2 at 1. He has extensively researched "gender

  identity in pediatrics and the treatment of gender dysphoria" and has "been

  treating patients with gender dysphoria as a pediatric endocrinologist since

  2015." Id. at 2. Dr. Shumer's expert report addresses evidence-based

  treatments for gender dysphoria in minors, including their safety and efficacy.

  Id. at 6–23.

         Dr. Jack Turban is an Assistant Professor of Child & Adolescent

  Psychiatry at the University of California, San Francisco School of Medicine

  and the director of the Gender Psychiatry Program in the Division of Child &

  Adolescent Psychiatry. Dkt. 26-3 at 2. His expert report includes opinions

  about the effects of gender-dysphoria treatment on mental health. Id. at 4–18.

         Plaintiffs' experts have each filed supplemental reports addressing the

  opinions of Defendants' experts. Dkt. 58. Defendants have filed a motion to

  exclude many of the opinions from Plaintiffs' experts, arguing that they are

  unreliable. See dkt. 62; dkt. 63. 2


  2 Plaintiffs have orally moved to strike that motion because it violates the parties'

  stipulation regarding the admissibility of evidence discussed at the June 5, 2023
  status conference, see dkt. 56, and was filed too late in the preliminary-injunction
                                              10
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               2. Defendants' experts

        Defendants have designated five experts, who have provided reports

  detailing their opinions.

        Dr. James Cantor is the Director of the Toronto Sexuality Centre. Dkt.

  48-1 at 9. He is trained as a clinical psychologist and neuroscientist and has

  researched "the development of sexual orientation, gender identity,

  hypersexuality, and atypical sexualities." Id. at 8. His expert report opines on

  the strength of the medical evidence regarding gender-dysphoria treatments as

  well as the safety and effectiveness of those treatments. Id. at 11–131.

        Dr. Paul Hruz, an Associate Professor of Pediatrics in the Division of

  Pediatric Endocrinology and Diabetes at Washington University School of

  Medicine, has "participated in the care of hundreds of infants and children,

  including adolescents, with disorders of sexual development." Dkt. 48-2 at 2.

  Dr. Hruz's opinions address the use of puberty blockers and hormone therapy

  to treat endocrine disorders and gender dysphoria. Id. at 9–52.

        Dr. Dianna Kenny was a Professor of Psychology at the University of

  Sydney for thirteen years and is now "a psychodynamic psychotherapist" and

  "child, marriage, and family therapist." Dkt. 48-3 at 3-4. For the past five

  years, she has "engaged in exploratory psychotherapy with children,



  proceedings. Many of the points raised in support of Defendants' motion to exclude
  could and should have been made in their response brief. Dkt. 54. This case's
  preliminary-injunction proceedings have been carefully scheduled to ensure thorough
  and fair review before S.E.A. 480's July 1, 2023 effective date, and none of those
  orders anticipated a motion to exclude filed after preliminary-injunction briefing was
  complete. See dkt. 21; dkt. 25; dkt. 56. However, for the reasons below, it's
  unnecessary to strike Defendants' motion to exclude.
                                            11
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  adolescents, and their families who are struggling with gender dysphoria." Id.

  at 4. Dr. Kenney's report addresses social aspects of gender dysphoria. Id. at

  10–126.

        Dr. Daniel Weiss, a practicing endocrinologist, has provided care for

  adults and children, and has completed extensive medical research. Dkt. 48-4

  at 3. He opines on the history and safety of treatments for gender dysphoria.

  Id. at 5–30.

        Dr. Kristopher Kaliebe is an Associate Professor in the University of

  South Florida Medical School's Department of Psychiatry. Dkt. 48-5 at 3. He

  supervises a child and adolescent psychiatry clinic and treats pediatric patients

  with gender dysphoria. Id. at 7. His expert report opines on the history of

  gender dysphoria diagnoses and the strength of the evidence regarding gender-

  dysphoria treatments. Id. at 10–71.

        The Court held oral argument on June 14, 2023. Dkt. 66.

                                         II.
                          Preliminary Injunction Standard

        Injunctive relief under Federal Rule of Civil Procedure 65 is "an exercise

  of very far-reaching power, never to be indulged in except in a case clearly

  demanding it." Cassell v. Snyders, 990 F.3d 539, 544 (7th Cir. 2021). To

  obtain such extraordinary relief, the party seeking the preliminary injunction

  carries the burden of persuasion by a clear showing. See id.; Mazurek v.

  Armstrong, 520 U.S. 968, 972 (1997).

        Determining whether a plaintiff "is entitled to a preliminary injunction

  involves a multi-step inquiry." Int'l Ass'n of Fire Fighters, Local 365 v. City of E.
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  Chi., 56 F.4th 437, 446 (7th Cir. 2022). "As a threshold matter, a party seeking

  a preliminary injunction must demonstrate (1) some likelihood of succeeding

  on the merits, and (2) that it has no adequate remedy at law and will suffer

  irreparable harm if preliminary relief is denied." Id. "If these threshold factors

  are met, the court proceeds to a balancing phase, where it must then consider:

  (3) the irreparable harm the non-moving party will suffer if preliminary relief is

  granted, balancing that harm against the irreparable harm to the moving party

  if relief is denied; and (4) the public interest, meaning the consequences of

  granting or denying the injunction to non-parties." Cassell, 990 F.3d at 545.

  This "involves a 'sliding scale' approach: the more likely the plaintiff is to win

  on the merits, the less the balance of harms needs to weigh in his favor, and

  vice versa." Mays v. Dart, 974 F.3d 810, 818 (7th Cir. 2020). "In the final

  analysis, the district court equitably weighs these factors together, seeking at

  all times to minimize the costs of being mistaken." Cassell, 990 F.3d at 545.

                                         III.
                                       Analysis

        A. Standing to challenge S.E.A. 480's prohibition on gender
           reassignment surgery

        Gender reassignment surgery is one of the "gender transition procedures"

  that S.E.A. 480 prohibits for minors. S.E.A. 480 §§ 5(a); 13(a). The statute

  defines "gender reassignment surgery" as "any medical or surgical service that

  seeks to surgically alter or remove healthy physical or anatomical

  characteristics or features that are typical for the individual's sex, in order to

  instill or create physiological or anatomical characteristics that resemble a sex


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  different from the individual's sex . . . knowingly performed for the purpose of

  assisting an individual with a gender transition." Id. § 2.

        The parties have stipulated that "[n]o Indiana provider performs gender-

  transition surgery on persons under the age of 18." Dkt. 51 at 4. Defendants

  therefore argue that Plaintiffs lack standing to seek a preliminary injunction

  against S.E.A. 480's prohibition on gender-transition surgery. Dkt. 54 at 30.

  Plaintiffs contend that they have standing because they are challenging the

  prohibition on "'gender transition procedures' generally." Dkt. 59 at 22.

        Standing is a constitutional doctrine "rooted in the traditional

  understanding of a case or controversy" and "ensure[s] that federal courts do

  not exceed their authority as it has been traditionally understood." Spokeo,

  Inc. v. Robins, 578 U.S. 330, 337–38 (2016); U.S. CONST. Art. III, § 2. To have

  standing, a plaintiff "must have (1) suffered an injury in fact, (2) that is fairly

  traceable to the challenged conduct of the defendant, and (3) that is likely to be

  redressed by a favorable judicial decision." Spokeo, 578 U.S. at 338. Here,

  Plaintiffs must have standing as to each piece of their claim. See Johnson v.

  U.S. Office of Pers. Mgmt., 783 F.3d 655, 661 (7th Cir. 2015) ("The fact that a

  plaintiff has suffered an injury that is traceable to one kind of conduct does not

  grant that plaintiff standing to challenge other, even related, conduct; standing

  is not dispensed in gross."); Mueller v. Raemisch, 740 F.3d 1128, 1132–33 (7th

  Cir. 2014) (holding that the plaintiffs had standing to challenge the

  requirement to continually update sex-offender registry information, but not to

  challenge the prohibition on changing their names, since they had no intention

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  of doing so). "To have standing for prospective injunctive relief, a plaintiff must

  face a 'real and immediate' threat of future injury as opposed to a threat that is

  merely 'conjectural or hypothetical.'" Simic v. City of Chicago, 851 F.3d 734,

  738 (7th Cir. 2017); see Speech First, Inc. v. Killeen, 968 F.3d 628, 638 (7th Cir.

  2020) (recognizing a plaintiff's "burden to demonstrate standing in the context

  of a preliminary injunction motion"). Put simply, a preliminary injunction can

  be appropriate only if there are "continuing, present adverse effects." Simic,

  851 F.3d at 738.

        Here, the stipulated facts show that no minor could receive gender-

  transition surgery from a physician or other practitioner in Indiana, regardless

  of S.E.A. 480. Dkt. 51 at 4. Plaintiffs therefore cannot show that S.E.A. 480's

  prohibition on gender-transition surgery would cause any minor in Indiana an

  injury that is likely to be redressed by a favorable judicial decision. Plaintiffs

  therefore lack standing to seek a preliminary injunction against S.E.A. 480's

  prohibition on gender-transition surgery for minors. See Speech First, 968

  F.3d at 644.

        B. Fourteenth Amendment equal protection claims

        "The Fourteenth Amendment's Equal Protection Clause guarantees that

  'No State shall . . . deny to any person within its jurisdiction the equal

  protection of the laws.'" Hope v. Comm'r of Ind. Dep't of Corr., 9 F.4th 513, 528–

  29 (7th Cir. 2021) (quoting U.S. CONST. amend. XIV, § 1). This "is essentially a

  direction that all persons similarly situated should be treated alike." Whitaker

  v. Kenosha Unified Sch. Dist. No. 1, 858 F.3d 1034, 1050 (7th Cir. 2017).

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  Plaintiffs argue that S.E.A. 480 "violates the equal protection rights of the

  plaintiff youth" because it impermissibly "discriminates on the basis of both sex

  and transgender status." Dkt. 27 at 26–27. Defendants respond that S.E.A.

  480 instead makes reasonable classifications "based on age, procedure, and

  condition—not sex or transgender status." Dkt. 54 at 40.

           1. Sex-based classifications and heightened scrutiny

        "Generally, state action is presumed to be lawful [under the Equal

  Protection Clause] and will be upheld if the classification drawn by the statute

  is rationally related to a legitimate state interest." Whitaker, 858 F.3d at 1050.

  That "rational basis test, however, does not apply when a classification is based

  upon sex." Id. Sex-based classifications are instead "subject to heightened

  scrutiny," requiring "the state to demonstrate that its proffered justification is

  'exceedingly persuasive.'" Id.; accord Sessions v. Morales–Santana, 582 U.S.

  47, 59 (2017) (recognizing "the heightened scrutiny that now attends 'all

  gender-based classifications'"). "This requires the state to show that the

  'classification serves important governmental objectives and that the

  discriminatory means employed are substantially related to the achievement of

  those objectives.'" Whitaker, 858 F.3d at 1050 (quoting United States v.

  Virginia, 518 U.S. 515, 524 (1996)).

        Plaintiffs argue that heightened scrutiny applies here because, under

  S.E.A. 480, sex is the determining factor as to whether a treatment is

  prohibited. Dkt. 27 at 27–30. Defendants respond that S.E.A. 480 draws




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  distinctions based on other factors, such as medical condition and procedure,

  rather than based on sex. Dkt. 54 at 40.

         S.E.A. 480 defines "sex" as "the biological state of being male or female,

  based on the individual's sex organs, chromosomes, and endogenous hormone

  profiles." S.E.A. 480 § 12. And it prohibits "a physician or other practitioner"

  from "knowingly provid[ing] gender transition procedures to a minor." Id. §

  13(a). "[G]ender transition" is defined as "the process in which an individual

  shifts from identifying with and living as a gender that corresponds to his or

  her sex to identifying with and living as a gender different from his or her sex."

  Id. § 3. And a "gender transition procedure" is defined as:

                any medical or surgical service . . . that seeks to:
                (1) alter or remove physical or anatomical
                characteristics or features that are typical for the
                individual's sex; or
                (2) instill or create physiological or anatomical
                characteristics that resemble a sex different from the
                individual's sex, including medical services that provide
                puberty blocking drugs, gender transition hormone
                therapy, or genital gender reassignment surgery or
                nongenital gender reassignment surgery knowingly
                performed for the purpose of assisting an individual
                with a gender transition.

  Id. § 5(a).

         Sex-based classifications are therefore central to S.E.A. 480's

  prohibitions. Section 5(a)(1), for example, prohibits procedures seeking to

  "alter or remove physical or anatomical characteristics or features that are

  typical for the individual's sex." But it does not prohibit a person from seeking

  to "alter or remove" a characteristic or feature typical of the opposite sex, under

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  S.E.A. 480's definition of sex. Similarly, section 5(a)(2) prohibits the creation of

  physiological or anatomical characteristics or features "that resemble a sex

  different from the individual's sex." But it does not prohibit a medical provider

  from creating physiological or anatomical characteristics or features that

  resemble that individual's sex. In other words, the statute allows physicians

  and other practitioners to "instill or create" characteristics "resembl[ing]"

  female anatomical characteristics for females but not for males, and male

  anatomical characteristics for males but not for females. It's therefore

  impossible for a medical provider to know whether a treatment is prohibited

  without knowing the patient's sex. S.E.A. 480's prohibitions therefore "cannot

  be stated without referencing sex." Whitaker, 858 F.3d at 1051.

        Despite that statutory language, Defendants argue that S.E.A. 480's

  classifications are instead "based on age, procedure, and medical condition"

  and "encompass both sexes and all gender identities." Dkt. 54 at 40.

  Defendants therefore contend that because S.E.A. 480 prohibits all gender-

  transition procedures, for both males and females, there's no sex-based

  classification. See id. at 40–41 (relying on Geduldig v. Aiello, 417 U.S. 484

  (1974)). But Geduldig was about pregnancy, which doesn't always trigger

  heightened scrutiny since it's an "objectively identifiable physical condition"

  and not necessarily a proxy for sex, even though "only women can become

  pregnant." 417 U.S. at 496 n.20. S.E.A. 480's prohibitions, by contrast, do

  not prohibit certain medical procedures in all circumstances, but only when

  used for gender transition, which in turn requires sex-based classifications.

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  Indeed, under S.E.A. 480's plain language, a medical provider can't know

  whether a gender transition is involved without knowing the patient's sex and

  the gender associated with the goal of the treatment. S.E.A. 480 §§ 3, 5(a).

        In short, without sex-based classifications, it would be impossible for

  S.E.A. 480 to define whether a puberty-blocking or hormone treatment involved

  transition from one's sex (prohibited) or was in accordance with one's sex

  (permitted). That's certainly why S.E.A. 480's plain text defines "sex," id. § 12;

  defines "gender transition" in sex-based terms, id. § 3; and then phrases its

  prohibitions in terms that repeatedly rely on those definitions, id. §§ 5(a), 13(a)

  (prohibitions centering on what is "typical for the individual's sex" and

  "characteristics that resemble a sex different from the individual's sex"). At

  bottom, sex-based classifications are not just present in S.E.A. 480's

  prohibitions; they're determinative.

        Defendants further argue that the rationale for heightened scrutiny

  doesn't apply to S.E.A. 480. Dkt. 54 at 31–33 (arguing that when "medical

  procedures take account of basic, immutable biological differences" between

  males and females, that does not trigger heightened scrutiny and does not rely

  on "stereotypes"). The Supreme Court has indeed applied heightened scrutiny

  while recognizing that "[p]hysical differences between men and women are

  enduring" and that "[t]he two sexes are not fungible." United States v. Virginia,

  518 U.S. 515, 533 (1996). It has therefore explained that the purpose of

  heightened scrutiny is not to "make sex a proscribed classification" but to

  ensure that sex-based classifications do not "create or perpetuate the legal,

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  social, and economic inferiority of women" or men. Id.; Sessions, 582 U.S. at

  72.

        While S.E.A. 480 prohibits both male and female minors from using

  puberty blockers and cross-sex hormone therapy for gender transition, it

  nonetheless draws sex-based classifications under current Seventh Circuit

  precedent. See Whitaker, 858 F.3d at 1050. For the reasons argued by

  Defendants, perhaps the Seventh Circuit or the Supreme Court will hold that a

  legislative sex-based classification like that made in S.E.A. 480 is presumed

  lawful and subject to only rational basis review. But Whitaker holds that

  rational basis review "does not apply when a classification is based upon sex."

  858 F.3d at 1050. Instead, a sex-based classification triggers heightened

  scrutiny that requires the state to show that the "classification serves

  important governmental objectives and that the discriminatory means

  employed are substantially related to the achievement of those objectives." Id.

        The Eighth Circuit reached the same conclusion in a case involving a

  substantially similar statute. Brandt v. Rutledge, 47 F.4th 661 (8th Cir. 2022).

  There, the court held that heightened scrutiny applied to the challenged

  Arkansas statute because "[t]he biological sex of the minor patient is the basis

  on which the law distinguishes between those who may receive certain types of

  medical care and those who may not." Id. at 670. The same is true here.




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  Because S.E.A. 480's prohibitions are "inherently based upon" sex

  classifications, "heightened review applies." Whitaker, 858 F.3d at 1051. 3

            2. Heightened scrutiny applied to S.E.A. 480

        "Successful defense of legislation that differentiates on the basis of

  gender . . . requires an 'exceedingly persuasive justification." Sessions v.

  Morales–Santana, 582 U.S. 47, 58 (2017). "For a gender-based classification to

  withstand such scrutiny, it must 'serve important governmental objectives,'

  and 'the discriminatory means employed must be substantially related to the

  achievement of those objectives." Nevada Dep't of Human Res. v. Hibbs, 538

  U.S. 721, 728–29 (2003) (quoting Virginia, 518 U.S. at 533). In other words,

  there must be a "close means–end fit." Sessions, 582 U.S. at 68.

        Plaintiffs argue that S.E.A. 480 does not survive heightened scrutiny

  because there's no important government interest to justify prohibiting "safe,

  effective, and medically necessary treatment for the health and well-being of

  adolescents suffering from gender dysphoria." Dkt. 27 at 30. Defendants

  contend that the prohibited treatments are unsafe and their effectiveness is

  unproven, so S.E.A. 480 is justified by the State's interests in protecting the

  wellbeing of minors and regulating the medical profession. Dkt. 54 at 33–40.

        Certainly, the proffered state interests are legitimate. "[I]t is clear that a

  legislature may pass valid laws to protect children." Packingham v. North

  Carolina, 582 U.S. 98, 106 (2017). And it's similarly "clear [that] the State has


  3 Because S.E.A. 480's sex-based classification triggers heightened scrutiny, the Court

  does not address what level of scrutiny a transgender-based classification alone might
  warrant.
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  a significant role to play in regulating the medical profession." Gonzales v.

  Carhart, 550 U.S. 124, 157 (2007). But heightened scrutiny requires a "close

  means–end fit," so it's not enough for the State's interests to justify some

  regulation of gender transition procedures for minors. Instead, the State's

  interests must justify S.E.A. 480's prohibition of gender transition procedures

  for minors. Sessions, 582 U.S. at 68; cf. Packingham, 582 U.S. at 106

  (explaining, in the First Amendment context, that "the assertion of a valid

  governmental interest cannot, in every context, be insulated from all

  constitutional protections").

        S.E.A. 480's scope is broad. As Defendants acknowledge, the statute

  "generally prohibits licensed medical providers from knowingly providing, or

  aiding and abetting another practitioner in providing, gender transition

  procedures to a minor." Dkt. 54 at 27–28. Indiana thus opted to ban—rather

  than otherwise regulate—gender transition procedures for minors. Defendants

  argue that this ban is justified because gender transition procedures "subject

  vulnerable minors to unproven, harmful, and irreversible procedures." Dkt. 54

  at 33. In support, they have designated medical evidence supported by expert

  reports. See generally dkt. 48.

        There is thus designated evidence in the record that puberty blockers

  carry risks of increased brain pressure and reductions in bone density and

  "may cause hot flashes, weight gain, fatigue and mood alterations." Dkt. 48-4

  at 20 (Weiss decl.); dkt. 48-2 at 25 (Hruz decl.). And while puberty blockers are

  prescribed when puberty starts far too soon, high-quality medical research on

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  their use to delay puberty past a typical age is exceptionally limited. See dkt.

  48-2 at 46 (Hruz decl.); dkt. 48-4 at 21–22 (Weiss decl.). Indeed, the

  consensus from all sides is that more research is needed to explore these risks.

  See dkt. 48-4 at 21–23 (Weiss decl.) (identifying statements from healthcare

  organizations including The Endocrine Society); dkt. 48-1 (Cantor decl.)

  (summarizing WPATH's calls for further research).

        There's also evidence that the cross-sex hormone therapies prohibited by

  S.E.A. 480 have risks as well. Those include fertility impairment, lower bone

  density, disfiguring acne, high blood pressure, weight gain, abnormal glucose

  tolerance, breast cancer, liver disease, thrombosis (blood clots in veins or

  arteries), and cardiovascular disease. Dkt. 48-2 at 44–46 (Hruz decl.).

  Hormone therapy is used to treat medical conditions other than gender

  dysphoria, but—similar to puberty blockers used for gender transition—the

  "long term effect[s]" of using of cross-sex hormones for gender transition are

  "currently unknown." Id. at 44.

        This designated evidence thus provides support for Defendants' view that

  the safety and effectiveness of puberty blockers and hormone therapy is

  uncertain and unsettled. It also supports Defendants' position that the State

  has good reasons for regulating gender transition procedures for minors.

  Nevertheless, Plaintiffs argue that these "concerns are based on

  mischaracterizations and distortions about the diagnosis and treatment of

  gender dysphoria." Dkt. 59 at 2. Maybe Plaintiffs will be able to prove that's

  true at a trial where Defendants' experts are subject to cross-examination on

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  the strength of their opinions. See Lapsley v. Xtek, Inc., 689 F.3d 802, 805 (7th

  Cir. 2012) (explaining that admissible expert evidence "is to be tested . . . with

  the familiar tools of 'vigorous cross-examination [and] presentation of contrary

  evidence'"). But based on the paper record available here, the Court finds that

  Defendants have designated some evidence in support of their position.

        Even so, heightened scrutiny requires more—the regulation must have

  an "exceedingly persuasive justification" and a "close means–end fit." Sessions,

  582 U.S. at 59, 68. In other words, the State's specific "means" (S.E.A. 480's

  broad ban) must fit its "ends" (protecting minors and regulating the medical

  profession). Sessions, 582 U.S. at 68; Virginia, 518 U.S. at 531 ("Parties who

  seek to defend gender-based government action must demonstrate an

  'exceedingly persuasive justification' for that action." (emphasis added)).

        So, for example, when the Supreme Court considered the male-only

  education offered at the Virginia Military Institute, it recognized that sex-based

  classifications can serve legitimate interests yet not survive heightened

  scrutiny. Virginia, 518 U.S. at 535–36. Therefore, in that case, while "[s]ingle-

  sex education affords pedagogical benefits to at least some students," and

  "diversity among public educational institutions can serve the public good,"

  those "benign justifications" were not enough to justify VMI's "categorical

  exclusions." Id.

        Here, S.E.A. 480 categorically bans the use of puberty blockers and

  hormone therapy for gender transition for minors. And Plaintiffs have

  designated evidence of risks to minors' health and wellbeing from gender

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  dysphoria if those treatments can no longer be provided to minors—prolonging

  of their dysphoria, and causing additional distress and health risks, such as

  depression, posttraumatic stress disorder, and suicidality. See dkt. 26-1 at

  16–17 (Karasic decl.). 4 Those treatments could no longer be used if S.E.A. 480

  goes into effect. So, while the State has identified legitimate reasons for

  regulation in this area, the designated evidence does not demonstrate, at least

  at this stage, that the extent of its regulation was closely tailored to uphold

  those interests. Plaintiffs therefore have shown some likelihood of success on

  the merits of their equal protection claim. See Mays v. Dart, 974 F.3d 810, 818

  (7th Cir. 2020).

        Nor does "the normal rule that courts defer to the judgments of

  legislatures in areas fraught with medical and scientific uncertainties" settle

  the issue here. Dobbs v. Jackson Women's Health Org., 142 S. Ct. 2228, 2268

  (2022). Defendants argue that S.E.A. 480 fits comfortably within this vast zone

  of legislative discretion, but they have not cited any authority making that


  4 In their motion to exclude expert testimony, Defendants argue that Dr. Karasic's

  opinion is unreliable and therefore inadmissible. Dkt. 62; dkt. 63 at 26–27. But Dr.
  Karasic bases his opinion on his experience "provid[ing] care for thousands of
  transgender patients," including "patients over the years who were unable to access
  gender-affirming care when it was clinically indicated." Dkt. 26-1 at 3, 17. That
  includes minors, "many" of whom then had "increased depression, anxiety, suicidal
  ideation and self-harm, increased substance use, and a deterioration in school
  performance." Id. at 17. Defendants argue that this experience is "unspecified" and
  unsupported, dkt. 63 at 26–27, but it is enough to pass Daubert gatekeeping. See
  Walker v. Soo Line R.R. Co., 208 F.3d 581, 586–87 (7th Cir. 2000) (explaining that
  "experience in treating patients" can qualify a medical expert and "[m]edical
  professionals reasonably may be expected to rely on self-reported patient histories").
  Other than this ruling, Defendant's motion to exclude expert testimony is DENIED
  without prejudice as unnecessary at this stage because this order does not rely on
  the challenged opinions in concluding that Plaintiffs have carried their preliminary-
  injunction burden. Dkt. [62].
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  principle controlling here, when heightened scrutiny applies to an equal

  protection claim. See id. at 2245–46 (Dobbs explaining that it did not involve

  "heightened constitutional scrutiny" but instead "the same standard of review"

  that applied to "other health and safety measures").

        Nevertheless, Defendants argue that "the State has no less restrictive

  means" than S.E.A. 480 "to advance its interests." Dkt. 54 at 36. They reason

  that there's "no test for gender dysphoria and no reliable way to know whether

  it will resolve without lifechanging medical interventions." Id.

        Defendants don't explain, however, why uncertainty about a gender-

  dysphoria diagnosis or about how long gender dysphoria may persist leaves the

  State without more tailored alternatives to S.E.A. 480. At the hearing on

  Plaintiffs' motion, Defendants emphasized that regardless of any expert

  testimony, the risks and uncertainties identified in systematic reviews

  conducted by certain European countries justified S.E.A. 480's ban on gender

  transition procedures for minors. But reliance on those reviews also does not

  achieve the "close means–end fit" required.

        Most detrimental to Defendants' position is that no European country

  that has conducted a systematic review responded with a ban on the use of

  puberty blockers and cross-sex hormone therapy as S.E.A. 480 would.

  Instead, Defendants' designated evidence is that (1) the English National

  Health Service has proposed that puberty blockers be used only "in the context

  of a formal research protocol," (2) Finland's health service has restricted

  puberty blockers and cross-sex hormone therapies to when gender dysphoria is

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  severe and other psychiatric symptoms have ceased, (3) the "leading Swedish

  pediatric gender clinic" has limited puberty blockers and cross-sex hormones to

  those sixteen and older in monitored clinical trials 5, (4) the Académie Nationale

  de Médecine of France has advised providers "to extend as much as possible

  the psychological support stage" before turning to hormone treatments, and (5)

  the "Dutch Protocol" developed in the Netherlands involves age restrictions on

  certain treatments and requires "resolution of mental health issues before any

  transition." Dkt. 48-1 at 16–21, 110–11 (Cantor decl.).

        In short, these European countries all chose less-restrictive means of

  regulation. In Defendants' view, however, the data from the systematic reviews

  gives the State unfettered discretion to choose how to regulate gender

  transition procedures for minors—up to and including a broad prohibition.

  But that does not take into account the "close means–end fit" that heightened

  scrutiny requires of sex-based classifications. Sessions, 582 U.S. at 59, 68.

        Plaintiffs therefore have shown some likelihood of success on their claim

  that S.E.A. 480's prohibitions on puberty blockers and hormone therapy for

  minors violate the Equal Protection Clause. See id. at 68.

        C. First Amendment speech claims

        In addition to its treatment prohibitions, S.E.A. 480 prohibits physicians

  and other medical practitioners from "aid[ing] or abet[ting] another physician or

  practitioner in the provision of" prohibited gender transition procedures to a



  5 The Swedish National Board of Health, however, has not imposed those restrictions

  but "recommends restraint." Dkt. 48-1 at 20.
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  minor. S.E.A. 480 § 13(b). It's uncontested that § 13(b) would prohibit any

  action that aids or abets a gender transition procedure. See dkt. 54 at 52. It

  therefore sweeps up both speech—such as medical referrals and discussing a

  shared patient's care—and conduct—such as driving a minor to receive

  prohibited care or assisting a surgery. See id.

        Plaintiffs Dr. Bast and Mosaic therefore challenge this provision as

  applied to its regulation of speech, arguing that it violates medical providers'

  First Amendment free speech rights because it prohibits making referrals for or

  providing information about gender transition procedures. Dkt. 27 at 49; dkt.

  59 at 35. Defendants respond that § 13(b) regulates speech only incidentally

  and is valid as part of a broader regulatory statute. Dkt. 54 at 52–53.

        It is "true that the First Amendment does not prevent restrictions

  directed at commerce or conduct from imposing incidental burdens on speech."

  Sorrell v. IMS Health Inc., 564 U.S. 552, 567 (2011). But burdens on speech

  are "incidental" only when they flow indirectly from the core purpose of the

  regulation—like an employment anti-discrimination ordinance requiring the

  removal of a "White Applicants Only" sign, or an ordinance against outdoor

  fires preventing flag burning. Id.; see also Morgan v. White, 964 F.3d 649, 652

  (7th Cir. 2020) (holding that it's an incidental burden on speech when a

  COVID-related social distancing order makes it harder for a campaign to

  "round up signatures"). Here, the speech that section 13(b) would prohibit

  would itself be "aiding and abetting," rather than being incidental to separate,

  prohibited conduct. See Expressions Hair Design v. Schneiderman, 581 U.S.

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  37, 47 (2017) (holding that a ban on surcharges for using a credit card

  regulated speech directly rather than incidentally because it dictated how

  stores communicated prices); Hurley v. Irish–American Gay, Lesbian and

  Bisexual Grp. of Boston, 515 U.S. 557 (1995) (holding that a ban on

  discrimination based on sexual orientation violated the First Amendment as

  applied to a parade). 6

        S.E.A. 480 § 13(b) therefore appears to burden speech "on its face and in

  its practical operation" because "aiding and abetting" directly prohibits referrals

  and collaboration among medical providers. Sorrell, 564 U.S. at 567.

  Moreover, the regulation triggers heightened scrutiny because it's "directed at

  certain content and is aimed at particular speakers." Id. at 567, 571. Section

  13(b) singles out medical providers and only one category of medical

  treatment—gender transition procedures.

        Plaintiffs therefore have some likelihood of success on their First

  Amendment challenge to S.E.A. 480's aiding and abetting provision, as applied

  to the speech they have shown to be regulated by that provision. Cf. Brandt v.

  Rutledge, 551 F. Supp. 3d 882, 892 (E.D. Ark. 2021) (finding likelihood of

  success on a First Amendment challenge to a ban on referrals as part of a

  similar statute), aff'd, 471 F.4th 661, 671–72 (8th Cir. 2022). 7


  6 Defendants also argue that S.E.A. 480 § 13(b) is permissible as "an integral part . . .

  of a valid . . . statute." Dkt. 54 at 52. But for the reasons explained above, Plaintiffs
  have some likelihood of success on challenges to other portions of S.E.A. 480 as well.

  7 Because Plaintiffs have shown some likelihood of success for these reasons as to the

  portions of S.E.A. 480 that they have standing to challenge, the Court does not
  address Plaintiffs' arguments that S.E.A. 480 (1) denies parents the fundamental right
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         D. Remaining preliminary injunction factors

            1. Irreparable harm

         Plaintiffs must also show that they would suffer irreparable harm

  without an injunction. See Cassell v. Snyders, 990 F.3d 539, 545 (7th Cir.

  2021). "Harm is irreparable if legal remedies are inadequate to cure it." Life

  Spine, Inc. v. Aegis Spine, Inc., 8 F.4th 531, 545 (7th Cir. 2021). "Inadequate

  'does not mean wholly ineffectual; rather, the remedy must be seriously

  deficient as compared to the harm suffered.'" Id.

         Minor Plaintiffs argue that they would suffer irreparable harm if S.E.A.

  480 took effect because they would have to stop receiving puberty blockers or

  hormone therapy to treat the severe condition of gender dysphoria. Dkt. 27 at

  52–53. Defendants respond that psychotherapy is available as an alternative

  treatment. Dkt. 54 at 54–55.

         Medical harms, including to mental health, can constitute irreparable

  harm, Whitaker v. Kenosha Unified Sch. Dist. No. 1, 858 F.3d 1034, 1044–46

  (7th Cir. 2017), and Defendants do not contest that gender dysphoria is a

  psychiatric diagnosis that requires "clinically significant distress" to diagnose,

  dkt. 54 at 14. Accord Brandt, 551 F. Supp. 3d at 892 (finding irreparable harm

  on a similar record), aff'd, 471 F.4th at 671–72. And—again—there's evidence

  that puberty blockers and cross-sex hormone therapy reduces distress for

  some minors diagnosed with gender dysphoria. See dkt. 26-1 at 3, 16–17



  to dictate their children's medical care, (2) violates federal Medicaid law, and (3)
  violates the Affordable Care Act. Dkt. 27 at 33–49.
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  (Karasic decl.); dkt. 48-12 at 18, 20 (B. Clawson Dep.) (explaining the effects of

  treatment on K.C.); dkt. 48-14 at 13–14 (Morris Dep.) (same for A.M.); dkt. 48-

  15 at 19 (R. Welch Dep.) (same for M.W.); dkt. 48-17 at 20 (Rivera Dep.) (same

  for M.R.). The risk of irreparable harm therefore supports a preliminary

  injunction. See Whitaker, 858 F.3d at 1045 (The irreparable harm requirement

  does not "require that the harm be certain to occur before a court may grant

  relief on the merits. Rather, harm is considered irreparable if it cannot be

  prevented or fully rectified by the final judgment after trial.").

        Plaintiffs have also satisfied the irreparable-harm requirement on their

  First Amendment speech claim. See Christian Legal Soc'y v. Walker, 453 F.3d

  853, 867 (7th Cir. 2006) ("[V]iolations of First Amendment rights are presumed

  to constitute irreparable injuries.").

           2. Balancing

        Because Plaintiffs have some likelihood of success on the merits of

  constitutional claims, a preliminary injunction is in the public interest. See

  Whole Woman's Health All. v. Hill, 937 F.3d 864, 875 (7th Cir. 2019) ("Enforcing

  a constitutional right is in the public interest."). While the State has a strong

  interest in enforcing democratically enacted laws, that interest decreases as

  Plaintiffs' likelihood of success on the merits of their constitutional claims

  increases. See Higher Soc'y of Ind. v. Tippecanoe Cty., 858 F.3d 1113, 1116

  (7th Cir. 2017). And for the reasons above, Plaintiffs risk suffering irreparable

  harm absent an injunction. As a result, the balance of harms favors granting a

  preliminary injunction against the portions of S.E.A. 480 that Plaintiffs have

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  some likelihood of success in challenging. See Mays v. Dart, 974 F.3d 810, 818

  (7th Cir. 2020).

           3. Bond Requirement

        Federal Rule of Civil Procedure 65(c)'s bond requirement is waived. See

  BankDirect Cap. Fin., LLC v. Cap. Premium Fin., Inc., 912 F.3d 1054, 1058 (7th

  Cir. 2019). "There is no reason to require a bond" in a case in which "the court

  is satisfied that there's no danger that the opposing party will incur any

  damages from the injunction." Habitat Educ. Ctr. v. U.S. Forest Serv., 607 F.3d

  453, 458 (7th Cir. 2010). Here, Defendants have not argued a likelihood of

  money damages or requested a bond. Any party may request an injunction

  bond while this case remains pending.

        E. Scope of the injunction

        Plaintiffs are therefore entitled to a partial injunction preventing the

  enforcement of S.E.A. 480's prohibitions on:

        (1) gender transition procedures, except gender reassignment surgery,

           S.E.A. 480 § 13(a); and

        (2) "aid[ing] or abet[ting] another physician or practitioner in the

            provision of" prohibited gender transition procedures to a minor, as

            applied to speech, id. § 13(b). The injunction will run against the

            regulated speech Plaintiffs have identified—providing patients with

            information, making referrals to other medical providers, and

            providing medical records or other information to other medical

            providers.

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         Defendants briefly argue that any injunction must be limited to the

  named plaintiffs. Dkt. 54 at 55–56. They rely on Doe v. Rokita, which

  identified "a problem with the remedy" when a court provides final relief

  enjoining a statute's application to non-parties without certifying a class

  action. Id. (citing 54 F.4th 518, 519 (7th Cir. 2022)). Doe, however, does not

  apply here because Plaintiffs seek a preliminary injunction while their motion

  for class certification remains pending. See dkt. 10; Kartman v. State Farm

  Mut. Auto. Ins. Co., 634 F.3d 883, 886 (7th Cir. 2011). Therefore, for the

  reasons in the Court's order regarding a stay of class-certification briefing, the

  Court can use its equitable power to issue an injunction prohibiting

  Defendants from enforcing the enjoined portions of S.E.A. 480 against any

  provider, as to any minor. See dkt. 41 ("[A] court may issue a classwide

  preliminary injunction in a putative class action suit prior to a ruling on the

  class certification motion . . . ."). 8




  8 Indeed, briefing on class-certification was stayed at Defendants' request.    And
  Defendants' submissions in support of that request did not mention their view that a
  stay would later preclude preliminary relief beyond the named plaintiffs. Dkt. 29.
  Defendants' counsel do not explain why it's appropriate to file such a motion to stay
  and then raise their view of the scope of available relief for the first time more than a
  month later in their preliminary-injunction response brief. See dkt. 54.


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                                          IV.
                                       Conclusion

        Plaintiffs' motion for a preliminary injunction is GRANTED in part. Dkt.

  [9]. 9 A separate injunction shall issue contemporaneously with this order. See

  Fed. R. Civ. P. 65(d).

        The assigned magistrate judge is asked to enter a case management plan

  for resolving this case. The Court will then set a trial date.

  SO ORDERED.

  Date: 6/16/2023




  Distribution:

  All electronically registered counsel




  9 The motion for leave to file brief as amici curiae of Arkansas, Alabama, and 14 other

  states is GRANTED. Dkt. [53].
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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

  K. C., et al.                                  )
                                                 )
                            Plaintiffs,          )
                                                 )
                       v.                        )    No. 1:23-cv-00595-JPH-KMB
                                                 )
  THE INDIVIDUAL MEMBERS OF THE                  )
  MEDICAL LICENSING BOARD OF                     )
  INDIANA in their official capacities, et al.   )
                                                 )
                            Defendants.          )

                              PRELIMINARY INJUNCTION

         Defendants, their officers, agents, employees, servants, attorneys, and all

  persons in active concert or participation with them, ARE HEREBY ENJOINED

  AND RESTRAINED, pending further order of the Court, from enforcing, against

  any physician or practitioner and relating to any patient:

         (1) S.E.A. 480's prohibitions on gender transition procedures, except the

            prohibition on gender reassignment surgery. S.E.A. 480 § 13(a) (to be

            codified at Ind. Code § 25-1-22-13(a)).

         (2) S.E.A. 480's prohibition on "aid[ing] or abet[ting] another physician or

             practitioner in the provision of gender transition procedures to a

             minor" as applied to providing patients with information, making

             referrals to other medical providers, and providing medical records or

             other information to medical providers. S.E.A. 480 § 13(b) (to be

             codified at Ind. Code § 25-1-22-13(b)).

  SO ORDERED.

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  Date: 6/16/2023




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                                   *** PUBLIC DOCKET ***
                                                                                                         APPEAL

                                             U.S. District Court
                                  Southern District of Indiana (Indianapolis)
                            CIVIL DOCKET FOR CASE #: 1:23-cv-00595-JPH-KMB


          K.C. v. THE INDIVIDUAL MEMBERS OF THE MEDICAL           Date Filed: 04/05/2023
          LICENSING BOARD OF INDIANA, et al                       Jury Demand: None
          Assigned to: Judge James Patrick Hanlon                 Nature of Suit: 440 Civil Rights: Other
          Referred to: Magistrate Judge Kellie M. Barr            Jurisdiction: Federal Question
          Cause: 42:1983 Civil Rights Act
          Plaintiff
          K. C.                                   represented by Chase Strangio
          a minor child by her parents and next                  American Civil Liberties Union
          friends Nathaniel and Beth Clawson                     Foundation
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          BETH CLAWSON                           represented by Chase Strangio
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          Plaintiff
          M. W.                                   represented by Chase Strangio
          a minor child by his parents and next                  (See above for address)
          friends Ryan and Lisa Welch                            PRO HAC VICE
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          Plaintiff
          RYAN WELCH                              represented by Chase Strangio
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                                                              PRO HAC VICE
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          friend Emily Morris                                   PRO HAC VICE
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                                                                 Kenneth J. Falk



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          Plaintiff
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          Plaintiff



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          behalf of classes and sub-classes similarly                      ATTORNEY TO BE NOTICED
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                                                                    Kenneth J. Falk
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                                                                    ATTORNEY TO BE NOTICED

                                                                    Stevie J. Pactor
                                                                    (See above for address)
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          V.
          Defendant
          THE INDIVIDUAL MEMBERS OF                 represented by Corrine Lorraine Youngs
          THE MEDICAL LICENSING BOARD                              INDIANA ATTORNEY GENERAL
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                                                                    317-232-0709
                                                                    Email: james.barta@atg.in.gov
                                                                    ATTORNEY TO BE NOTICED

                                                                    Melinda Rebecca Holmes
                                                                    INDIANA ATTORNEY GENERAL
                                                                    Indiana Government Center South, 5th
                                                                    Floor
                                                                    302 West Washington St.
                                                                    Indianapolis, IN 46204-2770


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                                                              (317) 232-6357
                                                              Fax: (317) 232-7979
                                                              Email: melinda.holmes@atg.in.gov
                                                              ATTORNEY TO BE NOTICED

                                                                 Razi Lane
                                                                 Office of IN Attorney General
                                                                 Solicitor General Division
                                                                 302 West Washington Street
                                                                 IGCS-5th Floor
                                                                 Indianapolis, IN 46204
                                                                 252-339-4772
                                                                 Email: razi.lane@atg.in.gov
                                                                 ATTORNEY TO BE NOTICED

                                                                 Thomas M. Fisher
                                                                 INDIANA ATTORNEY GENERAL
                                                                 Indiana Government Center South, 5th
                                                                 Floor
                                                                 302 West Washington St.
                                                                 Indianapolis, IN 46204-2770
                                                                 (317) 232-6255
                                                                 Fax: (317) 232-7979
                                                                 Email: tom.fisher@atg.in.gov
                                                                 ATTORNEY TO BE NOTICED

          Defendant
          EXECUTIVE DIRECTOR, INDIANA            represented by Corrine Lorraine Youngs
          PROFESSIONAL LICENSING                                (See above for address)
          AGENCY                                                ATTORNEY TO BE NOTICED
          in her official capacity
                                                                 James A. Barta
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

                                                                 Melinda Rebecca Holmes
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

                                                                 Razi Lane
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

                                                                 Thomas M. Fisher
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

          Defendant
          ATTORNEY GENERAL OF THE                represented by Corrine Lorraine Youngs
          STATE OF INDIANA                                      (See above for address)



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                           Case: 23-2366 Document: 1-1  Filed: 07/12/2023  Pages: 63
          in his official capacity                             ATTORNEY TO BE NOTICED

                                                                  James A. Barta
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Melinda Rebecca Holmes
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Razi Lane
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Thomas M. Fisher
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

          Defendant
          SECRETARY, INDIANA FAMILY               represented by Corrine Lorraine Youngs
          AND SOCIAL SERVICES                                    (See above for address)
          ADMINISTRATION                                         ATTORNEY TO BE NOTICED
          in her official capacity
                                                                  James A. Barta
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Melinda Rebecca Holmes
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Razi Lane
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Thomas M. Fisher
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

          Defendant
          INDIANA FAMILY AND SOCIAL               represented by Corrine Lorraine Youngs
          SERVICES ADMINISTRATION                                (See above for address)
                                                                 ATTORNEY TO BE NOTICED

                                                                  James A. Barta
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Melinda Rebecca Holmes
                                                                  (See above for address)



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                       Case: 23-2366  Document: 1-1     Filed: 07/12/2023  Pages: 63
                                                               ATTORNEY TO BE NOTICED

                                                                  Razi Lane
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Thomas M. Fisher
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

           Amicus
           STATE OF ARKANSAS                      represented by Dylan L. Jacobs
                                                                 Arkansas Attorney General
                                                                 323 Center St
                                                                 Suite 200
                                                                 Little Rock, AR 72201
                                                                 501-682-3661
                                                                 Email: dylan.jacobs@arkansasag.gov
                                                                 ATTORNEY TO BE NOTICED

           Amicus
           STATE OF ALABAMA INC.                  represented by Alexander Barrett Bowdre
                                                                 State of Alabama
                                                                 Office of the Attorney General
                                                                 501 Washington Ave.
                                                                 PO Box 300152
                                                                 Montgomery, AL 36130-0152
                                                                 334-353-8892
                                                                 Email: barrett.bowdre@alabamaag.gov
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

                                                                  Dylan L. Jacobs
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Edmund G. LaCour , Jr
                                                                  State of Alabama
                                                                  Office of the Attorney General
                                                                  Office of the Attorney General
                                                                  501 Washington Ave
                                                                  PO Box 300152
                                                                  Montgomery, AL 36130-0152
                                                                  334-353-2196
                                                                  Email: edmund.lacour@alabamaag.gov
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED

           Amicus




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                       Case: 23-2366  Document: 1-1        Filed: 07/12/2023      Pages: 63
           STATE OF FLORIDA                       represented by Dylan L. Jacobs
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

           Amicus
           STATE OF GEORGIA                        represented by Dylan L. Jacobs
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

           Amicus
           STATE OF IDAHO                          represented by Dylan L. Jacobs
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

           Amicus
           STATE OF IOWA                           represented by Dylan L. Jacobs
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

           Amicus
           STATE OF LOUISIANA                      represented by Dylan L. Jacobs
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

           Amicus
           STATE OF KANSAS                         represented by Dylan L. Jacobs
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

           Amicus
           STATE OF KENTUCKY                       represented by Dylan L. Jacobs
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

           Amicus
           STATE OF MISSISSIPPI                    represented by Dylan L. Jacobs
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

           Amicus
           STATE OF MISSOURI                       represented by Dylan L. Jacobs
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

           Amicus
           STATE OF MONTANA                        represented by Dylan L. Jacobs
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED




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                       Case: 23-2366  Document: 1-1     Filed: 07/12/2023  Pages: 63
           Amicus
           STATE OF NEBRASKA                              represented by Dylan L. Jacobs
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Amicus
           STATE OF SOUTH CAROLINA                        represented by Dylan L. Jacobs
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Amicus
           STATE OF SOUTH DAKOTA                          represented by Dylan L. Jacobs
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

           Amicus
           STATE OF UTAH                                  represented by Dylan L. Jacobs
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED


           Date Filed    #      Docket Text
           04/05/2023        1 COMPLAINT for Declaratory and Injunctive Relief / Notice of Challenge to
                               Constitutionality of Indiana Statute (Class Action) against All Defendants, filed by
                               All Plaintiffs. (Filing fee $402, receipt number AINSDC-7578384) (Attachments: # 1
                               Civil Cover Sheet, # 2 Proposed Summons)(Falk, Kenneth) (Entered: 04/05/2023)
           04/05/2023        2 NOTICE of Appearance by Gavin Minor Rose on behalf of Plaintiffs CATHERINE
                               BAST. M.D., K. C., BETH CLAWSON, NATHANIEL CLAWSON, A. M., EMILY
                               MORRIS, MOSAIC HEALTH AND HEALING ARTS, INC., M. R., MARIA
                               RIVERA, M. W., LISA WELCH, RYAN WELCH. (Rose, Gavin) (Entered:
                               04/05/2023)
           04/05/2023        3 NOTICE of Appearance by Kenneth J. Falk on behalf of Plaintiffs CATHERINE
                               BAST. M.D., K. C., BETH CLAWSON, NATHANIEL CLAWSON, A. M., EMILY
                               MORRIS, MOSAIC HEALTH AND HEALING ARTS, INC., M. R., MARIA
                               RIVERA, M. W., LISA WELCH, RYAN WELCH. (Falk, Kenneth) (Entered:
                               04/05/2023)
           04/05/2023        4 NOTICE of Appearance by Stevie J. Pactor on behalf of Plaintiffs CATHERINE
                               BAST. M.D., K. C., BETH CLAWSON, NATHANIEL CLAWSON, A. M., EMILY
                               MORRIS, MOSAIC HEALTH AND HEALING ARTS, INC., M. R., MARIA
                               RIVERA, M. W., LISA WELCH, RYAN WELCH. (Pactor, Stevie) (Entered:
                               04/05/2023)
           04/05/2023        5 Rule 7.1 Disclosure Statement by MOSAIC HEALTH AND HEALING ARTS,
                               INC.. (Falk, Kenneth) (Entered: 04/05/2023)
           04/06/2023        6 Summons Issued as to ATTORNEY GENERAL OF THE STATE OF INDIANA,
                               EXECUTIVE DIRECTOR, INDIANA PROFESSIONAL LICENSING AGENCY,
                               INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION,



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                              SECRETARY, INDIANA FAMILY AND SOCIAL SERVICES
                              ADMINISTRATION, THE INDIVIDUAL MEMBERS OF THE MEDICAL
                              LICENSING BOARD OF INDIANA. (DJH) (Entered: 04/06/2023)
           04/06/2023      7 MAGISTRATE JUDGE's NOTICE of Availability to Exercise Jurisdiction issued.
                             (DJH) (Entered: 04/06/2023)
           04/06/2023      8 Notice to File Rule 7.1 Disclosure Statement. (RAGS) (DJH) (Entered: 04/06/2023)
           04/06/2023      9 MOTION for Preliminary Injunction , filed by Plaintiffs CATHERINE BAST, K. C.,
                             BETH CLAWSON, NATHANIEL CLAWSON, A. M., EMILY MORRIS, MOSAIC
                             HEALTH AND HEALING ARTS, INC., M. R., MARIA RIVERA, M. W., LISA
                             WELCH, RYAN WELCH. (Attachments: # 1 Text of Proposed Order)(Falk,
                             Kenneth) (Entered: 04/06/2023)
           04/06/2023     10 MOTION to Certify Class , filed by Plaintiffs CATHERINE BAST, K. C., BETH
                             CLAWSON, NATHANIEL CLAWSON, A. M., EMILY MORRIS, MOSAIC
                             HEALTH AND HEALING ARTS, INC., M. R., MARIA RIVERA, M. W., LISA
                             WELCH, RYAN WELCH. (Falk, Kenneth) (Entered: 04/06/2023)
           04/07/2023     11 SCHEDULING ORDER: Plaintiffs have filed a Motion for Preliminary Injunction,
                             requesting the issuance of a preliminary injunction against the enforcement of Senate
                             Enrolled Act 480 before the statute takes effect on July 1, 2023. [Dkt. 9.] Plaintiffs
                             ask that the Magistrate Judge schedule a status conference to establish a briefing
                             schedule on that motion, as well as on Plaintiffs' Motion for Class Certification filed
                             the same day. [Dkt. 9 at 3; Dkt. 10.] This case is set for a Telephonic Status
                             Conference on Thursday, April 13, 2023, at 10:30 a.m. (Eastern), before the
                             Magistrate Judge. Because counsel has not yet appeared for the Defendants in this
                             action, Plaintiffs' counsel is ORDERED to promptly serve this Order on the
                             Defendants and on the Office of the Indiana Attorney General. If Plaintiffs' counsel is
                             aware of counsel who will be representing the Defendants in this action, Plaintiffs'
                             counsel is ORDERED to immediately serve a courtesy copy of this Order on
                             counsel. The Court will provide call-in information to be used to participate in the
                             conference next week by separate notification. At the status conference, the Parties
                             shall be prepared to discuss the following topics (see Order). To the extent possible,
                             the Parties are directed to meet and confer on these topics in advance of the
                             conference. Signed by Magistrate Judge Kellie M. Barr on 4/7/2023.(SWM)
                             (Entered: 04/07/2023)
           04/07/2023     12 PRACTICES AND PROCEDURES before Judge James Patrick Hanlon. (DWH)
                             (Entered: 04/07/2023)
           04/13/2023     14 MOTION for Attorney(s) Chase Strangio to Appear pro hac vice (Filing fee $100,
                             receipt number AINSDC-7588415), filed by Plaintiffs CATHERINE BAST, K. C.,
                             BETH CLAWSON, NATHANIEL CLAWSON, A. M., EMILY MORRIS, MOSAIC
                             HEALTH AND HEALING ARTS, INC., M. R., MARIA RIVERA, M. W., LISA
                             WELCH, RYAN WELCH. (Attachments: # 1 Exhibit Certification, # 2 Text of
                             Proposed Order)(Falk, Kenneth) (Entered: 04/13/2023)
           04/13/2023     15 MOTION for Attorney(s) Harper Seldin to Appear pro hac vice (Filing fee $100,
                             receipt number AINSDC-7588416), filed by Plaintiffs CATHERINE BAST, K. C.,
                             BETH CLAWSON, NATHANIEL CLAWSON, A. M., EMILY MORRIS, MOSAIC
                             HEALTH AND HEALING ARTS, INC., M. R., MARIA RIVERA, M. W., LISA
                             WELCH, RYAN WELCH. (Attachments: # 1 Exhibit Certification, # 2 Text of



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                              Proposed Order)(Falk, Kenneth) (Entered: 04/13/2023)
           04/13/2023     16 NOTICE of Appearance by Thomas M. Fisher on behalf of Defendants ATTORNEY
                             GENERAL OF THE STATE OF INDIANA, EXECUTIVE DIRECTOR, INDIANA
                             PROFESSIONAL LICENSING AGENCY, INDIANA FAMILY AND SOCIAL
                             SERVICES ADMINISTRATION, SECRETARY, INDIANA FAMILY AND
                             SOCIAL SERVICES ADMINISTRATION, THE INDIVIDUAL MEMBERS OF
                             THE MEDICAL LICENSING BOARD OF INDIANA. (Fisher, Thomas) (Entered:
                             04/13/2023)
           04/13/2023     17 NOTICE of Appearance by James A. Barta on behalf of Defendants ATTORNEY
                             GENERAL OF THE STATE OF INDIANA, EXECUTIVE DIRECTOR, INDIANA
                             PROFESSIONAL LICENSING AGENCY, INDIANA FAMILY AND SOCIAL
                             SERVICES ADMINISTRATION, SECRETARY, INDIANA FAMILY AND
                             SOCIAL SERVICES ADMINISTRATION, THE INDIVIDUAL MEMBERS OF
                             THE MEDICAL LICENSING BOARD OF INDIANA. (Barta, James) (Entered:
                             04/13/2023)
           04/13/2023     18 NOTICE of Appearance by Melinda Rebecca Holmes on behalf of Defendants
                             ATTORNEY GENERAL OF THE STATE OF INDIANA, EXECUTIVE
                             DIRECTOR, INDIANA PROFESSIONAL LICENSING AGENCY, INDIANA
                             FAMILY AND SOCIAL SERVICES ADMINISTRATION, SECRETARY,
                             INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION, THE
                             INDIVIDUAL MEMBERS OF THE MEDICAL LICENSING BOARD OF
                             INDIANA. (Holmes, Melinda) (Entered: 04/13/2023)
           04/13/2023     19 NOTICE of Appearance by Razi Lane on behalf of Defendants ATTORNEY
                             GENERAL OF THE STATE OF INDIANA, EXECUTIVE DIRECTOR, INDIANA
                             PROFESSIONAL LICENSING AGENCY, INDIANA FAMILY AND SOCIAL
                             SERVICES ADMINISTRATION, SECRETARY, INDIANA FAMILY AND
                             SOCIAL SERVICES ADMINISTRATION, THE INDIVIDUAL MEMBERS OF
                             THE MEDICAL LICENSING BOARD OF INDIANA. (Lane, Razi) (Entered:
                             04/13/2023)
           04/13/2023     20 NOTICE of Appearance by Corrine Lorraine Youngs on behalf of Defendants
                             ATTORNEY GENERAL OF THE STATE OF INDIANA, EXECUTIVE
                             DIRECTOR, INDIANA PROFESSIONAL LICENSING AGENCY, INDIANA
                             FAMILY AND SOCIAL SERVICES ADMINISTRATION, SECRETARY,
                             INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION, THE
                             INDIVIDUAL MEMBERS OF THE MEDICAL LICENSING BOARD OF
                             INDIANA. (Youngs, Corrine) (Entered: 04/13/2023)
           04/13/2023     21 MINUTE ENTRY - The Parties appeared, by counsel, for a Telephonic Status
                             Conference on April 13, 2023, with the Magistrate Judge to discuss the items set
                             forth in the Court's Scheduling Order. Dkt. 11 . Counsel had met and conferred
                             regarding those items in advance of the conference and reported their preferred
                             briefing schedules and discovery needs to the Court. The Court ORDERED counsel
                             to file a joint proposed case management schedule by April 14, 2023, at 5:00 p.m.,
                             consistent with the discussion at the conference. Signed by Magistrate Judge Kellie
                             M. Barr. (AKW) (Entered: 04/13/2023)
           04/14/2023     22 NOTICE of Filing Proposed Joint Schedule by All Plaintiffs (Attachments: # 1 Text
                             of Proposed Order) (Falk, Kenneth) (Entered: 04/14/2023)



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                       Case: 23-2366       Document: 1-1           Filed: 07/12/2023      Pages: 63
           04/14/2023      23 ORDER granting 14 Motion to Appear pro hac vice. Attorney Chase Strangio added
                              for Plaintiffs. Signed by Magistrate Judge Kellie M. Barr on 4/14/2023. (DWH)
                              (Entered: 04/17/2023)
           04/14/2023       24 ORDER granting 15 Motion to Appear pro hac vice. Attorney Harper Seldin added
                               for the Plaintiffs. The Court FURTHER ORDERS that Harper Seldin register as a
                               user of the Court's electronic case filing system by April 28, 2023. Signed by
                               Magistrate Judge Kellie M. Barr on 4/14/2023. (DWH) (Entered: 04/17/2023)
           04/17/2023       25 ORDER ADOPTING PARTIES' PROPOSED JOINT SCHEDULE - The Parties
                               have filed their Proposed Joint Schedule, [dkt. 22], related to discovery and briefing
                               of Plaintiffs' pending Motion for Preliminary Injunction, [dkt. 9], and Motion to
                               Certify Class, [dkt. 10]. IT IS THEREFORE ORDERED that the Parties' Proposed
                               Joint Schedule is APPROVED, such that the Parties' proposed schedule for discovery
                               and briefing related to Plaintiffs' pending motions shall proceed as set forth therein
                               (SEE ORDER). Signed by Magistrate Judge Kellie M. Barr on 5/17/2023. (DWH)
                               (Entered: 04/17/2023)
           04/21/2023       26 NOTICE of Filing of Evidentiary Submission by All Plaintiffs (Attachments: # 1
                               Exhibit 1: Expert Declaration of Dan H. Karasic, M.D., # 2 Exhibit 2: Expert
                               Declaration of Daniel Shumer, M.D., # 3 Exhibit 3: Expert Declaration of Jack
                               Turban, M.D., MHS, # 4 Exhibit 4: Declaration of Nathaniel Clawson and Beth
                               Clawson, # 5 Exhibit 5: Declaration of Lisa Welch and Ryan Welch, # 6 Exhibit 6:
                               Declaration of Emily Morris, # 7 Exhibit 7: Declaration of Maria Rivera, # 8 Exhibit
                               8: Declaration of Michelle (Mixhi) Marquis, # 9 Exhibit 9: Declaration of Dr.
                               Catherine Bast, # 10 Exhibit 10: Declaration of LaRisha Hanks, # 11 Exhibit 11:
                               Declaration of Jamie Harris, # 12 Exhibit 12: Declaration of Julia Kathary, # 13
                               Exhibit 13: Declaration of Patrick Rhodes, # 14 Exhibit 14: Declarationof Michael
                               Rabinowitch and Lindsey Rabinowitch, # 15 Exhibit 15: Declaration of GEKCO, #
                               16 Exhibit 16: Declaration of Indiana Youth Group, # 17 Exhibit 17: Excerpts from
                               Indiana's State Medicaid Plan, # 18 Exhibit 18: Declaration of Gender Nexus)
                               (Pactor, Stevie) (Entered: 04/21/2023)
           04/21/2023       27 BRIEF/MEMORANDUM in Support re 9 MOTION for Preliminary Injunction ,
                               filed by Plaintiffs CATHERINE BAST, K. C., BETH CLAWSON, NATHANIEL
                               CLAWSON, A. M., EMILY MORRIS, MOSAIC HEALTH AND HEALING ARTS,
                               INC., M. R., MARIA RIVERA, M. W., LISA WELCH, RYAN WELCH. (Pactor,
                               Stevie) (Entered: 04/21/2023)
           04/21/2023       28 BRIEF/MEMORANDUM in Support re 10 MOTION to Certify Class , filed by
                               Plaintiffs CATHERINE BAST, K. C., BETH CLAWSON, NATHANIEL
                               CLAWSON, A. M., EMILY MORRIS, MOSAIC HEALTH AND HEALING ARTS,
                               INC., M. R., MARIA RIVERA, M. W., LISA WELCH, RYAN WELCH. (Rose,
                               Gavin) (Entered: 04/21/2023)
           04/26/2023       29 MOTION to Stay Briefing on Motion for Class Certification, filed by Defendants
                               ATTORNEY GENERAL OF THE STATE OF INDIANA, EXECUTIVE
                               DIRECTOR, INDIANA PROFESSIONAL LICENSING AGENCY, INDIANA
                               FAMILY AND SOCIAL SERVICES ADMINISTRATION, SECRETARY,
                               INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION, THE
                               INDIVIDUAL MEMBERS OF THE MEDICAL LICENSING BOARD OF
                               INDIANA. (Fisher, Thomas) (Entered: 04/26/2023)




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                       Case: 23-2366     Document: 1-1              Filed: 07/12/2023      Pages: 63
           04/26/2023      30 COURT NOTICE: Plaintiffs shall have through May 1, 2023 to respond to the
                              motion to stay class-certification briefing, dkt. 29. Defendants shall have through
                              May 3, 2023 to file any reply. *** TEXT ONLY ENTRY *** (PKP) (Entered:
                              04/26/2023)
           04/27/2023        31 NOTICE of Automatic Initial 28-Day Extension of Time to Respond To Complaint,
                                filed by Defendants ATTORNEY GENERAL OF THE STATE OF INDIANA,
                                EXECUTIVE DIRECTOR, INDIANA PROFESSIONAL LICENSING AGENCY,
                                INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION,
                                SECRETARY, INDIANA FAMILY AND SOCIAL SERVICES
                                ADMINISTRATION, THE INDIVIDUAL MEMBERS OF THE MEDICAL
                                LICENSING BOARD OF INDIANA (Fisher, Thomas) (Entered: 04/27/2023)
           05/01/2023        32 RESPONSE in Opposition re 29 MOTION to Stay Briefing on Motion for Class
                                Certification , filed by Plaintiffs CATHERINE BAST, K. C., BETH CLAWSON,
                                NATHANIEL CLAWSON, A. M., EMILY MORRIS, MOSAIC HEALTH AND
                                HEALING ARTS, INC., M. R., MARIA RIVERA, M. W., LISA WELCH, RYAN
                                WELCH. (Attachments: # 1 Exhibit Document requests, # 2 Exhibit Deposition
                                notices)(Falk, Kenneth) (Entered: 05/01/2023)
           05/01/2023        33 RETURN of Service by CMRRR, filed by All Plaintiffs. SECRETARY, INDIANA
                                FAMILY AND SOCIAL SERVICES ADMINISTRATION served on 4/24/2023.
                                (Falk, Kenneth) (Entered: 05/01/2023)
           05/01/2023        34 RETURN of Service by CMRRR, filed by All Plaintiffs. THE INDIVIDUAL
                                MEMBERS OF THE MEDICAL LICENSING BOARD OF INDIANA served on
                                4/10/2023. (Falk, Kenneth) (Entered: 05/01/2023)
           05/01/2023        35 RETURN of Service by CMRRR, filed by All Plaintiffs. EXECUTIVE DIRECTOR,
                                INDIANA PROFESSIONAL LICENSING AGENCY served on 4/10/2023. (Falk,
                                Kenneth) (Entered: 05/01/2023)
           05/01/2023        36 RETURN of Service by CMRRR, filed by All Plaintiffs. ATTORNEY GENERAL
                                OF THE STATE OF INDIANA served on 4/11/2023. (Falk, Kenneth) (Entered:
                                05/01/2023)
           05/01/2023        37 MOTION for Protective Order -STIPULATED-, filed by Plaintiffs CATHERINE
                                BAST, K. C., BETH CLAWSON, NATHANIEL CLAWSON, A. M., EMILY
                                MORRIS, MOSAIC HEALTH AND HEALING ARTS, INC., M. R., MARIA
                                RIVERA, M. W., LISA WELCH, RYAN WELCH. (Falk, Kenneth) (Entered:
                                05/01/2023)
           05/02/2023        38 SCHEDULING ORDER - To facilitate proceedings related to Plaintiffs' motion for a
                                preliminary injunction, the Court: ORDERS the parties to confer and to file a joint
                                statement of stipulated facts by June 2, 2023; SCHEDULES a hearing on Plaintiffs'
                                motion for a preliminary injunction for June 14, 2023, at 1:30 p.m. in Room 329,
                                United States Courthouse, 46 E. Ohio Street, Indianapolis, Indiana; and
                                SCHEDULES a telephonic status conference on June 5, 2023, at 11:00 a.m. Counsel
                                shall attend the conference by calling the designated telephone number, to be
                                provided by the Court via email generated by the Court's ECF system. SEE ORDER
                                FOR ADDITIONAL DETAILS. Signed by Judge James Patrick Hanlon on
                                05/02/2023.(AAS) (Entered: 05/02/2023)




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                       Case: 23-2366    Document: 1-1            Filed: 07/12/2023   Pages: 63
           05/03/2023      39 STIPULATED PROTECTIVE ORDER 37 APPROVED AND ORDERED. Signed
                              by Magistrate Judge Kellie M. Barr on 5/3/2023.(SWM) (Entered: 05/03/2023)
           05/03/2023      40 REPLY in Support of Motion re 29 MOTION to Stay Briefing on Motion for Class
                              Certification , filed by Defendants ATTORNEY GENERAL OF THE STATE OF
                              INDIANA, EXECUTIVE DIRECTOR, INDIANA PROFESSIONAL LICENSING
                              AGENCY, INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION,
                              SECRETARY, INDIANA FAMILY AND SOCIAL SERVICES
                              ADMINISTRATION, THE INDIVIDUAL MEMBERS OF THE MEDICAL
                              LICENSING BOARD OF INDIANA. (Fisher, Thomas) (Entered: 05/03/2023)
           05/05/2023      41 ORDER REGARDING STAY OF CLASS CERTIFICATION BRIEFING - Plaintiffs
                              SHALL SHOW CAUSE by May 12, 2023, why briefing on their motion for class
                              certification should not be stayed because the Court's equitable power would provide
                              the more appropriate procedure for the relief they seek. (SEE ORDER) Signed by
                              Judge James Patrick Hanlon on 5/5/2023.(KAA) (Entered: 05/05/2023)
           05/11/2023      42 RESPONSE , re 41 Order to Show Cause, filed by Plaintiffs CATHERINE BAST, K.
                              C., BETH CLAWSON, NATHANIEL CLAWSON, A. M., EMILY MORRIS,
                              MOSAIC HEALTH AND HEALING ARTS, INC., M. R., MARIA RIVERA, M. W.,
                              LISA WELCH, RYAN WELCH. (Falk, Kenneth) (Entered: 05/11/2023)
           05/17/2023      43 ORDER granting 29 STAY OF CLASS CERTIFICATION BRIEFING - Defendants'
                              unopposed motion to stay is GRANTED and briefing on Plaintiffs' motion for class
                              certification, dkt. 10, is STAYED pending resolution of the motion for preliminary
                              injunction. Dkt. 29 . SEE ORDER. Signed by Judge James Patrick Hanlon on
                              05/17/2023. (AAS) (Entered: 05/17/2023)
           05/23/2023      44 Unopposed MOTION for Extension of Time to August 14, 2023 in which to 1
                              Complaint , filed by Defendants ATTORNEY GENERAL OF THE STATE OF
                              INDIANA, EXECUTIVE DIRECTOR, INDIANA PROFESSIONAL LICENSING
                              AGENCY, INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION,
                              SECRETARY, INDIANA FAMILY AND SOCIAL SERVICES
                              ADMINISTRATION, THE INDIVIDUAL MEMBERS OF THE MEDICAL
                              LICENSING BOARD OF INDIANA. (Fisher, Thomas) (Entered: 05/23/2023)
           05/24/2023      45 Submission of Proposed Order , re 44 Unopposed MOTION for Extension of Time to
                              August 14, 2023 in which to 1 Complaint , filed by Defendants ATTORNEY
                              GENERAL OF THE STATE OF INDIANA, EXECUTIVE DIRECTOR, INDIANA
                              PROFESSIONAL LICENSING AGENCY, INDIANA FAMILY AND SOCIAL
                              SERVICES ADMINISTRATION, SECRETARY, INDIANA FAMILY AND
                              SOCIAL SERVICES ADMINISTRATION, THE INDIVIDUAL MEMBERS OF
                              THE MEDICAL LICENSING BOARD OF INDIANA. (Fisher, Thomas) (Entered:
                              05/24/2023)
           05/25/2023      46 ORDER granting 44 Motion for Extension of Time to File a Responsive Pleading to
                              8/14/23 - SEE ORDER. Signed by Magistrate Judge Kellie M. Barr on 5/25/23.
                              (JRB) (Entered: 05/25/2023)
           06/01/2023      48 Evidentiary Material filed by Defendants ATTORNEY GENERAL OF THE STATE
                              OF INDIANA, EXECUTIVE DIRECTOR, INDIANA PROFESSIONAL
                              LICENSING AGENCY, INDIANA FAMILY AND SOCIAL SERVICES
                              ADMINISTRATION, SECRETARY, INDIANA FAMILY AND SOCIAL
                              SERVICES ADMINISTRATION, THE INDIVIDUAL MEMBERS OF THE


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                       Case: 23-2366      Document: 1-1            Filed: 07/12/2023       Pages: 63
                              MEDICAL LICENSING BOARD OF INDIANA. (Attachments: # 1 Exhibit 1 -
                              Cantor Decl., # 2 Exhibit 2 - Hruz Decl., # 3 SEALED Exhibit 3 - Kenny Decl., # 4
                              Exhibit 4 - Weiss Decl., # 5 Exhibit 5 - Kaliebe Decl., # 6 Exhibit 6 - Riley Dep., # 7
                              Exhibit 7 - Eskenazi Dep., # 8 Exhibit 8 - Mosaic Dep., # 9 Exhibit 9 - Karasic Dep.,
                              # 10 Exhibit 10 - Shumer Dep., # 11 Exhibit 11 - Turban Dep., # 12 Exhibit 12 - B.
                              Clawson Dep., # 13 Exhibit 13 - N. Clawson Dep., # 14 Exhibit 14 - Morris Dep., #
                              15 Exhibit 15 - R. Welch Dep., # 16 Exhibit 16 - L. Welch Dep., # 17 Exhibit 17 - M.
                              Rivera Dep.)(Fisher, Thomas) Partially unsealed per order at Dkt. 65 (AKW).
                              (Entered: 06/01/2023)
           06/01/2023        49 Submission of Evidentiary Material, filed by Defendants ATTORNEY GENERAL
                                OF THE STATE OF INDIANA, EXECUTIVE DIRECTOR, INDIANA
                                PROFESSIONAL LICENSING AGENCY, INDIANA FAMILY AND SOCIAL
                                SERVICES ADMINISTRATION, SECRETARY, INDIANA FAMILY AND
                                SOCIAL SERVICES ADMINISTRATION, THE INDIVIDUAL MEMBERS OF
                                THE MEDICAL LICENSING BOARD OF INDIANA. (Attachments: # 1 Exhibit 18
                                - Hembree 2017, # 2 Exhibit 19 - WPATH SOC 7, # 3 Exhibit 20 - WPATH SOC 8, #
                                4 Exhibit 21 - APA DSM-5 TR, # 5 Exhibit 22 - NICE GnRH Review, # 6 Exhibit 23
                                - NICE Hormone Review, # 7 Exhibit 24 - Cass Report, # 8 Exhibit 25 - COHERE
                                Summary, # 9 Exhibit 26 - COHERE Recommendation, # 10 Exhibit 27 -
                                Ludvigsson 2023, # 11 Exhibit 28 - Academie Statement, # 12 Exhibit 29 - Cole
                                Decl., # 13 Exhibit 30 - Cohn Decl., # 14 Exhibit 31 - Robertson Decl., # 15 Exhibit
                                32 - Scheinfeld Decl., # 16 Exhibit 33 - Hawes Decl., # 17 Exhibit 34 - Reed Decl.)
                                (Fisher, Thomas) (Entered: 06/01/2023)
           06/01/2023        50 MOTION to Maintain Document Under Seal 48 SEALED Document (Case
                                Participants - doc) , filed by Defendants ATTORNEY GENERAL OF THE STATE
                                OF INDIANA, EXECUTIVE DIRECTOR, INDIANA PROFESSIONAL
                                LICENSING AGENCY, INDIANA FAMILY AND SOCIAL SERVICES
                                ADMINISTRATION, SECRETARY, INDIANA FAMILY AND SOCIAL
                                SERVICES ADMINISTRATION, THE INDIVIDUAL MEMBERS OF THE
                                MEDICAL LICENSING BOARD OF INDIANA. (Attachments: # 1 Text of
                                Proposed Order Proposed Order)(Fisher, Thomas) (Entered: 06/01/2023)
           06/01/2023        51 STIPULATION of Facts, filed by Plaintiffs CATHERINE BAST, K. C., BETH
                                CLAWSON, NATHANIEL CLAWSON, A. M., EMILY MORRIS, MOSAIC
                                HEALTH AND HEALING ARTS, INC., M. R., MARIA RIVERA, M. W., LISA
                                WELCH, RYAN WELCH. (Falk, Kenneth) (Entered: 06/01/2023)
           06/02/2023        52 NOTICE of Appearance by Dylan L. Jacobs on behalf of Amicus Parties STATE OF
                                ARKANSAS, State of Alabama, STATE OF FLORIDA, STATE OF GEORGIA,
                                State of Idaho, STATE OF IOWA, STATE OF LOUISIANA, STATE OF KANSAS,
                                STATE OF KENTUCKY, STATE OF MISSISSIPPI, STATE OF MISSOURI, STATE
                                OF MONTANA, State of Nebraska, STATE OF SOUTH CAROLINA, State of
                                South Dakota, STATE OF UTAH. (Jacobs, Dylan) (Entered: 06/02/2023)
           06/02/2023        53 MOTION for Leave to File to Brief as Amici Curiae, filed by Amicus Parties STATE
                                OF ARKANSAS, STATE OF FLORIDA, STATE OF GEORGIA, STATE OF IOWA,
                                STATE OF KANSAS, STATE OF KENTUCKY, STATE OF LOUISIANA, STATE
                                OF MISSISSIPPI, STATE OF MISSOURI, STATE OF MONTANA, STATE OF
                                SOUTH CAROLINA, STATE OF UTAH, State of Alabama, State of Idaho, State of
                                Nebraska, State of South Dakota. (Attachments: # 1 Exhibit Proposed Amicus Brief)
                                (Jacobs, Dylan) (Entered: 06/02/2023)


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                       Case: 23-2366    Document: 1-1        Filed: 07/12/2023        Pages: 63
           06/02/2023      54 RESPONSE re 9 MOTION for Preliminary Injunction , filed by Defendants
                              ATTORNEY GENERAL OF THE STATE OF INDIANA, EXECUTIVE
                              DIRECTOR, INDIANA PROFESSIONAL LICENSING AGENCY, INDIANA
                              FAMILY AND SOCIAL SERVICES ADMINISTRATION, SECRETARY,
                              INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION, THE
                              INDIVIDUAL MEMBERS OF THE MEDICAL LICENSING BOARD OF
                              INDIANA. (Fisher, Thomas) Unsealed per order at Dkt. 65 (AKW). (Entered:
                              06/02/2023)
           06/02/2023      55 MOTION to Maintain Document Under Seal 54 SEALED Response to Motion , filed
                              by Defendants ATTORNEY GENERAL OF THE STATE OF INDIANA,
                              EXECUTIVE DIRECTOR, INDIANA PROFESSIONAL LICENSING AGENCY,
                              INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION,
                              SECRETARY, INDIANA FAMILY AND SOCIAL SERVICES
                              ADMINISTRATION, THE INDIVIDUAL MEMBERS OF THE MEDICAL
                              LICENSING BOARD OF INDIANA. (Attachments: # 1 Text of Proposed Order
                              Proposed Order)(Fisher, Thomas) (Entered: 06/02/2023)
           06/05/2023      56 MINUTE ENTRY for proceedings held before Judge James Patrick Hanlon: On June
                              5, 2023, the Court held a telephonic status conference. Plaintiffs appeared by counsel
                              Ken Falk, Gavin Rose, Stevie Pactor, Chase Strangio and Harper Seldin. Defendants
                              appeared by counsel Tom Fisher and James Barta. The conference was recorded by
                              Court Reporter Jodie Franzen. The Court reviewed the status of this case in
                              preparation for the hearing on June 14, 2023, at 1:30 p.m. The hearing will be limited
                              to oral argument, no evidence will be presented. Two hours will be allocated for the
                              hearing, with 45 minutes per side for presentations. (PKP) (Entered: 06/06/2023)
           06/09/2023      57 EXPEDITED BRIEFING SCHEDULE - In light of the upcoming hearing on
                              Plaintiffs' Motion for a Preliminary Injunction, which is scheduled for June 14, 2023,
                              the Court hereby ORDERS that Plaintiffs file their responses to Defendants' Motions
                              to Maintain Under Seal no later than 12:00 p.m. (Eastern) on Tuesday, June 13,
                              2023. SEE ORDER. Signed by Magistrate Judge Kellie M. Barr on 6/9/2023.(KAA)
                              (Entered: 06/09/2023)
           06/12/2023      58 Appendix of Exhibits in Support of Reply in Support of Motion re 9 MOTION for
                              Preliminary Injunction , filed by Plaintiffs CATHERINE BAST, K. C., BETH
                              CLAWSON, NATHANIEL CLAWSON, A. M., EMILY MORRIS, MOSAIC
                              HEALTH AND HEALING ARTS, INC., M. R., MARIA RIVERA, M. W., LISA
                              WELCH, RYAN WELCH. (Attachments: # 1 Exhibit 1: Select exhibits from
                              30(b)(6) deposition of IU Health, # 2 Exhibit 2:Supplemental Expert Declaration of
                              Dan H. Karasic, M.D., # 3 Exhibit 3: Supplemental Expert Declaration of Daniel
                              Shumer, M.D., # 4 Exhibit 4: Supplemental Declaration of Jack Turban, M.D., MHS,
                              # 5 Exhibit 5: Transcript of Deposition of Paul Hruz, M.D. PhD and select exhibits, #
                              6 Exhibit 6: Transcript of Deposition of Daniel Weiss, M.D. and select exhibits, # 7
                              Exhibit 7: Transcript of Deposition of Kristopher Kaliebe, PhD (redacted), # 8
                              Exhibit 8: Transcript of Deposition of James Cantor, PhD and select exhibits, # 9
                              Exhibit 9: Transcript of Deposition of Dianna Kenny, PhD and select exhibits, # 10
                              Exhibit 10: Select exhibits from 30(b)(6) deposition of Mosaic Health and Healing
                              Arts, # 11 Exhibit 11: Select exhibits from 30(b)(6) deposition of Eskenazi Health)
                              (Pactor, Stevie) (Entered: 06/12/2023)




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                       Case: 23-2366      Document: 1-1        Filed: 07/12/2023   Pages: 63
           06/12/2023      59 REPLY in Support of Motion re 9 MOTION for Preliminary Injunction , filed by
                              Plaintiffs CATHERINE BAST, K. C., BETH CLAWSON, NATHANIEL
                              CLAWSON, A. M., EMILY MORRIS, MOSAIC HEALTH AND HEALING ARTS,
                              INC., M. R., MARIA RIVERA, M. W., LISA WELCH, RYAN WELCH. (Pactor,
                              Stevie) (Entered: 06/12/2023)
           06/12/2023      60 NOTICE OF CHANGE OF LOCATION ONLY: The hearing on Plaintiffs' motion
                              for a preliminary injunction set for June 14, 2023, at 1:30 p.m. will take place in
                              Room #344, United States Courthouse, 46 E. Ohio Street, Indianapolis, Indiana
                              before Judge James Patrick Hanlon. *** TEXT ONLY ENTRY *** (PKP) (Entered:
                              06/12/2023)
           06/12/2023      61 Submission of Evidentiary Material, filed by Defendants ATTORNEY GENERAL
                              OF THE STATE OF INDIANA, EXECUTIVE DIRECTOR, INDIANA
                              PROFESSIONAL LICENSING AGENCY, INDIANA FAMILY AND SOCIAL
                              SERVICES ADMINISTRATION, SECRETARY, INDIANA FAMILY AND
                              SOCIAL SERVICES ADMINISTRATION, THE INDIVIDUAL MEMBERS OF
                              THE MEDICAL LICENSING BOARD OF INDIANA. (Attachments: # 1 Exhibit 1
                              - NHS (2023) Treatment Gender Dysphoria, # 2 Exhibit 2 - Cornell Search
                              Methodology, # 3 Exhibit 3 - deVries (2014) Young adult psychological outcome, # 4
                              Exhibit 4 - D'Angelo (2021)_Article_OneSizeDoesNotFitAllInSupport, # 5 Exhibit 5
                              - Rametti (2011) White matter microstructure, # 6 Exhibit 6 - Turban Tweet (May 13,
                              2023 at 4.36 PM), # 7 Exhibit 7 - Chung (2002) Sexual differentiation, # 8 Exhibit 8
                              - Baker (2021) Hormone Therapy, # 9 Exhibit 9 - Zucker (2011) Puberty Blocking
                              Hormonal Therapy, # 10 Exhibit 10 - Owen-Smith (2018))(Fisher, Thomas)
                              (Entered: 06/12/2023)
           06/12/2023      62 MOTION to Exclude Opinions of Plaintiffs' Experts, filed by Defendants
                              ATTORNEY GENERAL OF THE STATE OF INDIANA, EXECUTIVE
                              DIRECTOR, INDIANA PROFESSIONAL LICENSING AGENCY, INDIANA
                              FAMILY AND SOCIAL SERVICES ADMINISTRATION, SECRETARY,
                              INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION, THE
                              INDIVIDUAL MEMBERS OF THE MEDICAL LICENSING BOARD OF
                              INDIANA. (Fisher, Thomas) (Entered: 06/12/2023)
           06/12/2023      63 BRIEF/MEMORANDUM in Support re 62 MOTION to Exclude Opinions of
                              Plaintiffs' Experts , filed by Defendants ATTORNEY GENERAL OF THE STATE
                              OF INDIANA, EXECUTIVE DIRECTOR, INDIANA PROFESSIONAL
                              LICENSING AGENCY, INDIANA FAMILY AND SOCIAL SERVICES
                              ADMINISTRATION, SECRETARY, INDIANA FAMILY AND SOCIAL
                              SERVICES ADMINISTRATION, THE INDIVIDUAL MEMBERS OF THE
                              MEDICAL LICENSING BOARD OF INDIANA. (Fisher, Thomas) (Entered:
                              06/12/2023)
           06/13/2023      64 RESPONSE to Motion re 50 MOTION to Maintain Document Under Seal 48
                              SEALED Document (Case Participants - doc) , 55 MOTION to Maintain Document
                              Under Seal 54 SEALED Response to Motion , filed by Plaintiffs CATHERINE
                              BAST, K. C., BETH CLAWSON, NATHANIEL CLAWSON, A. M., EMILY
                              MORRIS, MOSAIC HEALTH AND HEALING ARTS, INC., M. R., MARIA
                              RIVERA, M. W., LISA WELCH, RYAN WELCH. (Attachments: # 1 Exhibit 1:
                              Redacted report, # 2 Text of Proposed Order)(Pactor, Stevie) (Entered: 06/13/2023)




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                       Case: 23-2366      Document: 1-1             Filed: 07/12/2023       Pages: 63
           06/13/2023      65 ORDER REGARDING MOTIONS TO MAINTAIN DOCUMENTS UNDER SEAL
                              - Currently pending before the Court are two Motions to Maintain Documents Under
                              Seal in this case. [Dkts. 50; 55.] For the reasons detailed below, the Court GRANTS
                              IN PART and DENIES IN PART the first Motion to Maintain Documents Under
                              Seal, [dkt. 50], and DENIES the second Motion to Maintain Documents Under Seal,
                              [dkt. 55]. *SEE ORDER FOR DETAILS* Signed by Magistrate Judge Kellie M.
                              Barr on 6/13/23. (AKW) (Entered: 06/13/2023)
           06/14/2023       66 MINUTE ENTRY for proceedings held before Judge James Patrick Hanlon: On June
                               14, 2023, the Court held a hearing on Plaintiffs' motion for a preliminary injunction.
                               Plaintiffs appeared by counsel Ken Falk, Gavin Rose, Stevie Pactor, Chase Strangio
                               and Harper Seldin. Defendants appeared by counsel Tom Fisher, James Barta,
                               Melinda Holmes and Razi Lane. The conference was recorded by Court Reporter
                               Jodie Franzen. Plaintiffs made an oral motion to strike Defendants' Motion to
                               Exclude Opinions of Plaintiffs' Experts, dkt. 62. The Court took the motion under
                               advisement. The Court heard oral argument on Plaintiffs' motion for a preliminary
                               injunction. The Court will issue a ruling as soon as possible. (PKP) (Entered:
                               06/15/2023)
           06/16/2023       67 ORDER GRANTING IN PART PLAINTIFFS' MOTION FOR A PRELIMINARY
                               INJUNCTION - Plaintiffs' motion for a preliminary injunction is GRANTED in part.
                               Dkt. 9 . A separate injunction shall issue contemporaneously with this order. See Fed.
                               R. Civ. P. 65(d). The assigned magistrate judge is asked to enter a case management
                               plan for resolving this case. The Court will then set a trial date. The motion for leave
                               to file brief as amici curiae of Arkansas, Alabama, and 14 other states is GRANTED.
                               Dkt. 53 (See Order for Details). Signed by Judge James Patrick Hanlon on
                               6/16/2023. (DWH) (Entered: 06/16/2023)
           06/16/2023       68 PRELIMINARY INJUNCTION - Defendants, their officers, agents, employees,
                               servants, attorneys, and all persons in active concert or participation with them, ARE
                               HEREBY ENJOINED AND RESTRAINED, pending further order of the Court,
                               from enforcing, against any physician or practitioner and relating to any patient: (1)
                               S.E.A. 480's prohibitions on gender transition procedures, except the prohibition on
                               gender reassignment surgery. S.E.A. 480 § 13(a) (to be codified at Ind. Code §
                               25-1-22-13(a)). (2) S.E.A. 480's prohibition on "aid[ing] or abet[ting] another
                               physician or practitioner in the provision of gender transition procedures to a minor"
                               as applied to providing patients with information, making referrals to other medical
                               providers, and providing medical records or other information to medical providers.
                               S.E.A. 480 § 13(b) (to be codified at Ind. Code § 25-1-22-13(b)). Signed by Judge
                               James Patrick Hanlon on 6/16/2023.(DWH) (Entered: 06/16/2023)
           06/21/2023       69 ORDER SETTING TELEPHONIC STATUS CONFERENCE - This case is set for a
                               Telephonic Status Conference on July 17, 2023, at 3:30 p.m. (Eastern), before United
                               States Magistrate Judge Kellie M. Barr. The Court will contact counsel through the
                               Court's electronic filing system with the call-in information to be used to participate
                               in the conference. SEE ORDER. Signed by Magistrate Judge Kellie M. Barr on
                               6/21/2023.(JRB) (Entered: 06/21/2023)
           06/22/2023       70 MOTION for Attorney(s) A. Barrett Bowdre to Appear pro hac vice (Filing fee $100,
                               receipt number AINSDC-7689019), filed by Amicus STATE OF ALABAMA INC..
                               (Attachments: # 1 Text of Proposed Order)(Bowdre, Alexander) (Entered:
                               06/22/2023)



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            06/23/2023      71 ORDER granting 70 Motion to Appear pro hac vice. Attorney Alexander Barrett
                               Bowdre for STATE OF ALABAMA INC. added. Signed by Magistrate Judge Kellie
                               M. Barr on 6/23/2023. (JRB) (Entered: 06/23/2023)
            06/26/2023      72 MOTION for Attorney(s) Edmund G. LaCour Jr. to Appear pro hac vice (Filing fee
                               $100, receipt number AINSDC-7693002), filed by Amicus STATE OF ALABAMA
                               INC.. (Attachments: # 1 Text of Proposed Order)(LaCour, Edmund) (Entered:
                               06/26/2023)
            06/27/2023      73 TRANSCRIPT of preliminary injunction held on June 14, 2023 before Judge James
                               Patrick Hanlon. (61 pages.) Court Reporter/Transcriber: Jodie Franzen (Email:
                               jodiefranzen@gmail.com). Please review Local Rule 80-2 for more information on
                               redaction procedures. Redaction Statement due 7/18/2023. Release of Transcript
                               Restriction set for 9/25/2023. (Franzen, Jodie) (Entered: 06/27/2023)
            06/27/2023      74 NOTICE of FILING of OFFICIAL TRANSCRIPT of preliminary injunction held
                               before Judge James Patrick Hanlon on June 14, 2023 (Franzen, Jodie) (Entered:
                               06/27/2023)
            06/27/2023      75 ORDER granting 72 Motion to Appear pro hac vice. Attorney Edmund G. LaCour, Jr
                               for STATE OF ALABAMA INC. added. Signed by Magistrate Judge Kellie M. Barr
                               on 6/27/2023. (JRB) (Entered: 06/27/2023)
            07/10/2023      76 CASE MANAGEMENT PLAN TENDERED, filed by Plaintiffs CATHERINE
                               BAST, K. C., BETH CLAWSON, NATHANIEL CLAWSON, A. M., EMILY
                               MORRIS, MOSAIC HEALTH AND HEALING ARTS, INC., M. R., MARIA
                               RIVERA, M. W., LISA WELCH, RYAN WELCH . (Falk, Kenneth) (Entered:
                               07/10/2023)
            07/11/2023      77 NOTICE OF APPEAL as to 68 Preliminary Injunction, 67 Order on Motion for
                               Leave to FileOrder on Motion for Preliminary Injunction, filed by Defendants
                               ATTORNEY GENERAL OF THE STATE OF INDIANA, EXECUTIVE
                               DIRECTOR, INDIANA PROFESSIONAL LICENSING AGENCY, INDIANA
                               FAMILY AND SOCIAL SERVICES ADMINISTRATION, SECRETARY,
                               INDIANA FAMILY AND SOCIAL SERVICES ADMINISTRATION, THE
                               INDIVIDUAL MEMBERS OF THE MEDICAL LICENSING BOARD OF
                               INDIANA. (Filing fee $505, receipt number AINSDC-7714711) (Fisher, Thomas)
                               (Entered: 07/11/2023)
            07/11/2023      78 DOCKETING STATEMENT by All Defendants re 77 Notice of Appeal (Fisher,
                               Thomas) (Entered: 07/11/2023)
            07/11/2023      79 PARTIES' SHORT RECORD re 77 Notice of Appeal - Instructions for
                               Attorneys/Parties attached. (LF) (Entered: 07/12/2023)

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